Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 1 of 48 PageID: 21267
                                                                                    1


        1                      UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
        2
            __________________________________
        3
            IN RE:   BENICAR (OLMESARTAN)
        4 PRODUCTS LIABILITY LITIGATION
                                                    CIVIL ACTION NUMBER:
        5
                                                    15-2606
        6   __________________________________
                 Mitchell H. Cohen United States Courthouse
        7        One John F. Gerry Plaza
                 Camden, New Jersey 08101
        8        August 1, 2017

        9   B E F O R E:           THE HONORABLE ROBERT B. KUGLER
                                    UNITED STATES DISTRICT JUDGE
      10                           THE HONORABLE JOEL SCHNEIDER
                                   UNITED STATES MAGISTRATE JUDGE
      11
            A P P E A R A N C E S:
      12
      13    CHRISTOPHER COFFIN, ESQUIRE
            ADAM SLATER, ESQUIRE
      14    BENJAMIN STEINBERG, ESQUIRE
            RAYNA KESSLER, ESQUIRE
      15    DAVID JACOBY, ESQUIRE
            ATTORNEYS FOR THE PLAINTIFFS
      16
            TROY RAFFERTY, ESQUIRE
      17    ATTORNEY FOR PLAINTIFFS' NEGOTIATING COMMITTEE

      18    DOUGLAS MARVIN, ESQUIRE
            ATTORNEY FOR THE DEFENDANTS
      19
            DRINKER BIDDLE & REATH, LLP
      20    BY: SUSAN M. SHARKO, ESQUIRE
                 MICHAEL ZOGBY, ESQUIRE,
      21         JESSICA BRENNAN, ESQUIRE
            ATTORNEYS FOR THE DEFENDANTS
      22
            BRUCE PARKER, ESQUIRE
      23    ATTORNEY FOR THE DEFENDANTS

      24
      25



                            United States District Court
                                 Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 2 of 48 PageID: 21268
                                                                                    2


        1   JESSICA BRENNAN, ESQUIRE
            ATTORNEY FOR THE DEFENDANTS
        2
            AMY KLUG, ESQUIRE
        3   ATTORNEY FOR THE DEFENDANTS

        4   BROWN GREER
            BY: ORRAN L. BROWN, SR., ESQUIRE
        5        WILLIAM STRUNK, ESQUIRE
            ATTORNEYS FOR THE SETTLEMENT TEAM
        6
        7
        8
        9
      10
      11
            Certified as true and correct as required by Title 28,
      12    U.S.C., Section 753.
                             /S/ Carl J. Nami
      13
      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24
      25



                            United States District Court
                                 Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 3 of 48 PageID: 21269
                                                                                            3


                1                     (Open court)

                2              THE DEPUTY COURT CLERK:       All rise.

                3              THE COURT:     Thanks.    Have a seat, everybody.    Good

                4   morning.   All right.     Carl, do you need anybody's appearance

00:00           5   or do you think you know this cast of characters?

                6            All right.     Well, we're here on a status conference

                7   today.   I understand that the parties have some things they

                8   want to put on the record and some applications to make.

                9            So why don't we start with plaintiff's counsel.         Mr.

00:00         10    Coffin, I believe you want to go first.

              11               MR. COFFIN:    Good morning, Your Honor, and thank you,

              12    Your Honor.    Chris Coffin, on behalf of the plaintiffs in this

              13    case.

              14             Yes, Your Honors, we are pleased to announce that after

00:01         15    just over two years of litigation in this MDL, the parties

              16    have reached a settlement in this case.        The settlement

              17    provides for the defendants to fund a settlement program of

              18    300 million dollars.      Today we'd like to go through this

              19    settlement program with Your Honors.        We have a bit of an

00:01         20    agenda with some individuals to speak about claim

              21    administration.    Mr. Marvin from the defense side and Mr.

              22    Rafferty from the Plaintiffs' side are going to give some more

              23    details about the settlement.         We have entered into a master

              24    settlement agreement this morning the defendants have signed,

00:01         25    the plaintiffs have signed.         So, the settlement was entered




                                    United States District Court
                                         Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 4 of 48 PageID: 21270
                                                                                            4


                1   into officially this morning.      The settlement to give you a

                2   broad overview will include all cases filed in both State and

                3   Federal Court.    All cases that meet a specific criteria.          I

                4   think Mr. Marvin, perhaps Mr. Rafferty will address that a

00:02           5   little bit more specifically with the court.         Also just to

                6   give you a little preview of today, what we'd like to do after

                7   Mr. Marvin and Mr. Rafferty present, we do have a

                8   representative from the Claims Administration Company of Brown

                9   and Greer who will be administering the settlement.          Also from

00:02         10    Provideo Lien Resolution.      We have a representative from

              11    Provideo here to address the court.       Miss Sharko is going to

              12    go through the Orders that attach to the Master Settlement

              13    Agreement the parties have entered into, and then I will

              14    address the Common Benefit motion and memorandum that's been

00:03         15    submitted to the court.

              16            Before Mr. Marvin and Mr. Rafferty give an overview, I

              17    just would like to say that on the plaintiffs' side my co-lead

              18    counsel and I are very pleased with the work that the

              19    plaintiffs have done.     The Plaintiffs' Steering Committee has

00:03         20    put in a lot of tremendous work in this case and we're very

              21    pleased with the resolution.      My co-lead counsel Mr. Slater

              22    would like to address the court before Mr. Marvin and Mr.

              23    Rafferty do, Your Honors.

              24              THE COURT:    Please.   Mr. Slater.

00:03         25              MR. SLATER:    Thank you, Judge.     I probably have




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 5 of 48 PageID: 21271
                                                                                             5


                1   spoken quite enough in this litigation, so I'm going to be

                2   pretty quick and leave it to the people who really understand

                3   all these complex documents to speak, but I think that it's

                4   important on behalf of all the plaintiffs, and I won't presume

00:03           5   to speak on behalf of the defense, that we really want to

                6   thank the court, Judge Kugler, Judge Schneider.            We wouldn't

                7   be here today, we wouldn't be here today at this stage of

                8   litigation for this purpose without you.

                9             You know, I can just state that it is a fairly large

00:04         10    number of cases and have not been the one that's been managed

              11    this practically and with a transparency of what the court

              12    wanted and explained to the lawyers and in getting us here I

              13    think that it was, it was really a terrific job by the court

              14    and really speaks really well for, for MDL's being here in New

00:04         15    Jersey with this court.     And, you know, we're really proud to

              16    have appeared in this court and been able to do the hard work

              17    we did.    And you know I also would like to echo what Mr.

              18    Coffin said, this is a team effort and you can see a lot of

              19    the lawyers from around the United States here who did

00:04         20    incredible work and invested a lot of money and time and

              21    obviously every single person here made this possible and

              22    there's no one person that did this.       It's every single person

              23    that did this.    So I would just like to, for the record, to

              24    thank everybody on the plaintiffs' side for what they did.

00:05         25    And I also would like to thank the defense.         Very




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 6 of 48 PageID: 21272
                                                                                            6


                1   professional.    Miss Sharko is as tough an adversary as you'll

                2   find anywhere in the country and I have no problem saying

                3   that.   I will never see the word road map the same again and

                4   I'll never think of Hawaii the same as I did before Judge

00:05           5   Schneider's ruling.     And Mr. Marvin was a pleasure to deal

                6   with and as professional as anyone you'll find and Mr. Field

                7   as good a lawyer as you could find anywhere and we were lucky

                8   to have this type of a defense team to work with and against

                9   in this litigation because it allowed us to actually focus on

00:05         10    what we needed to do, and when we fought hard and again I

              11    think we're all very proud to have had this opportunity to be

              12    in the ring with them with Your Honors running this

              13    litigation.    And finally I just want to say for the most

              14    important people from our perspective in this entire

00:06         15    litigation is the plaintiffs and the people who are going to

              16    be able to proclaim through here, we're really gratified for

              17    them because, you know, that's our job.        That's what we're

              18    here for.     And we feel that the court gave us the opportunity

              19    to represent them the way we needed to, but ultimately this

00:06         20    day is not for any of us from my perspective as lawyers is for

              21    our clients.    So hopefully this will give them some relief and

              22    give them the justice that our system allows which this is it.

              23            So, we just want to thank you for all the hard work and

              24    for the guidance that you gave us getting here today.          Thank

00:06         25    you.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 7 of 48 PageID: 21273
                                                                                              7


                1               MR. COFFIN:   I agree.   Very well said, Mr. Slater.

                2   I'll echo what Mr. Slater said.       It really has been a joy to

                3   practice in front of Your Honors and having been involved in

                4   many MDL cases, I'm sure the defense can speak to this too.             I

00:07           5   know Miss Sharko was been involved in many as well as Mr.

                6   Marvin.     It was run very efficiently.     We appreciate that and

                7   our clients.    As Mr. Slater said, those who are most important

                8   in this case.     Our clients certainly appreciate that.

                9             Next on the agenda, we have Mr. Doug Marvin was the

00:07         10    lead negotiator on the defense side.       Mr. Troy Rafferty was

              11    the lead negotiator on the plaintiffs' side.         As Your Honors

              12    are aware, we had a plaintiffs' negotiating committee which

              13    consisted of myself, Mr. Slater, Miss Tara Sutton and Mr.

              14    Rafferty.     Unfortunately Miss Sutton sends her regards.       She

00:07         15    couldn't be here today because she's in a Daubert Hearing in

              16    Pensacola, Florida in another MDL, but Mr. Rafferty was our,

              17    the lead of our plaintiffs' negotiating committee.          He and Mr.

              18    Marvin engaged in hundreds and hundreds of hours of

              19    negotiation and discussion about this resolution.         So, I'd

00:08         20    like Mr. Marvin and Mr. Rafferty to present to you the nuts

              21    and bolts.

              22                MR. MARVIN:   Good morning, Your Honor.

              23                THE COURT:    Good morning.

              24                MR. MARVIN:   Douglas Marvin for the defendants.        I'd

00:08         25    like to echo the comments made by my colleagues on the right




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 8 of 48 PageID: 21274
                                                                                            8


                1   side of the podium here.      It has been discussions that have

                2   transpired over the past several months.        All those

                3   discussions have been handled politely with candor and

                4   professionalism and it has been a very rewarding exercise.

00:08           5   And we also like to thank the court for your guidance

                6   throughout the process as well.

                7           In putting together this settlement, we have strived to

                8   establish a program that has three hallmarks.

                9           First is transparency.

00:09         10            The second is equality and the third is fairness.

              11            In terms of transparency, we have put together a Master

              12    Settlement Agreement that is open for everyone to read.          It

              13    will be placed on the web.      And every aspect and every term of

              14    this settlement is open and transparent for everyone to read.

00:09         15            Second, in terms of equality.      Claimants who are

              16    similarly situated, all are being treated equally.          There is a

              17    matrix that is set up and those who fall within various levels

              18    of the matrix based upon the evidence that they produce during

              19    the claims process will basically be treated the same.

00:10         20            And, third, with respect to fairness.        Every claim will

              21    be reviewed individually, and every claim, claimant will have

              22    due process protections built into the program where they can

              23    ask for reconsideration to the Claims Administrator where they

              24    can appeal to a committee of lawyers from both sides.          And,

00:10         25    indeed even take their matter to a special master within the




                                    United States District Court
                                         Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 9 of 48 PageID: 21275
                                                                                            9


                1   contours of the settlement program.

                2           So, each of those hallmarks I think have been achieved

                3   here.   If Troy and I can just sort of give a brief overview.

                4   In establishing the program it is a program that is open to

00:11           5   eligible claimants with eligible claims.        And so there's two

                6   key terms there, eligible claimants, eligible claims.

                7           For eligible claimants, all plaintiffs who have cases

                8   on file whether in this court or in the New Jersey State Court

                9   that are on file for pending cases as of August 1st are

00:11         10    eligible for this settlement if they allege an injury

              11    resulting from the use of Olmesartan and if the first use of

              12    Olmesartan was prior to May 1, 2015.       It's also open to those

              13    who have not yet filed a case and that may be because they

              14    retained counsel.    Counsel has not run up against the statute

00:12         15    of limitations yet, and, so, it did not need to file a case

              16    but they got it sitting in their office.        We did not want to

              17    exclude them.    And so claimants who have not filed a case but

              18    who allege an injury just as in for those complaining cases

              19    for the result of a use of Olmesartan who allege first use of

00:12         20    Olmesartan prior to May 1, 2015 and who signed an agreement to

              21    retain counsel on or prior to August 23.        We have that period

              22    built in so that counsel can contact those who you have

              23    contacted them who have retained them.        If they need time to

              24    sign a retainer agreement, we realize it's August with

00:12         25    vacations and all.     And so we've given that period of time to




                                    United States District Court
                                         Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 10 of 48 PageID: 21276
                                                                                           10


                1   allow those people to enroll in the settlement as well.

                2           You want to go through the injury levels?

                3             MR. RAFFERTY:     No.   Go ahead.

                4             MR. MARVIN:    Sure.    Okay.   And the second key term

00:13           5   here are the eligible claims.

                6             MR. RAFFERTY:     Troy Rafferty on behalf of the

                7   plaintiffs' negotiating committee.        I think as Doug said, one

                8   of the most important things was for us to be inclusive and

                9   fair in establishing this resolution program.         As you go

00:13          10   through, you'll see that there are going to be six different

               11   eligible categories of injuries throughout this.          The injury

               12   level one being a diagnosis or pathology report of Sprue-like

               13   Enteropathy or Villous Atrophy.       And then also a corresponding

               14   weight loss of five percent of your body weight or

00:13          15   hospitalization of three days or more.        And then there are

               16   some other parameters built into the resolution program about

               17   other etiologies or other causes that the claimant will have

               18   to meet in order to be eligible for injury level one.

               19           Injury level 2 involves a positive E Challenge, meaning

00:14          20   that they start that the claimant had symptoms while on

               21   Olmesartan and it persists for greater than seven days, and

               22   then improved following this continuation.         So that being a

               23   positive De-Challenge.      They stopped taking the drug and their

               24   symptoms improve.     Also in the injury Level II there is that

00:14          25   same weight loss of five percent of the body weight or




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 11 of 48 PageID: 21277
                                                                                         11


                1   hospitalization for three days or more and other requirements

                2   in regards to the other etiologies.

                3           Injury Level III are those claimants that qualify

                4   either in injury Level I or II but without the corresponding

00:14           5   weight loss or hospitalization.       So they would meet all the

                6   other requirements of either of those two categories but not

                7   threshold or the weight loss or the injury -- or I mean the

                8   hospitalization.

                9           Four is an aggravation of a pre-existing intestinal

00:14          10   condition.    So recognizing the people may have pre-existing

               11   intestinal conditions prior to taking Olmesartan if in fact

               12   those pre-existing -- if those pre-existing symptoms worsen

               13   while on Olmesartan and continue for more than seven days and

               14   improve upon discontinuation of Olmesartan, then they would

00:15          15   qualify in each of Category IV.       And there are also no other

               16   -- there are other etiology requirements in that as well.

               17           Injury Level V is symptoms while on Olmesartan and

               18   persist for five days or more, and there are no other

               19   etiologies.

00:15          20           And finally Injury Level VI which is symptoms while on

               21   Olmesartan for at least 30 days.       The, really the, one of the

               22   things that we really try to do with these six categories.           I

               23   think one of the hallmarks that Mr. Marvin was talking about

               24   was inclusion, making sure that we bring in all of the

00:15          25   eligible claims that we possibly could.        So I think these




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 12 of 48 PageID: 21278
                                                                                           12


                1   eligibility levels will help do that.

                2                             (Brief pause)

                3               MR. MARVIN:    Appendix J of the Master Settlement

                4   Agreement that sets out the criteria for the valuation of the

00:16           5   claims, that's the matrix, and each injury level whether it's

                6   one, two, three, four, five or six has been assigned a certain

                7   number of base points.       And then there can be adjustments to

                8   those base points based upon the individual characteristics of

                9   the claimant.     So if there's both the diagnosis of an SLE and

00:16          10   the pathology report, there's an adjustment upward.          For

               11   hospitalization, obviously some may go into the hospital for a

               12   night, others could be there for a longer period of time.           And

               13   so we take that into account in having a gradation with

               14   respect to hospitalization.       Obviously those who are in the

00:17          15   hospital longer, to be considered more serious cases, and,

               16   therefore, entitled to greater compensation.         The same is true

               17   with weight loss.     There's six levels of adjustments there.

               18             Renal failure.    If there are cases involving renal

               19   failure, then there is an adjustment for that case.          And the

00:17          20   same is true for long-term steriodal use and then the usage

               21   period as well.

               22             So, to enroll in the settlement, a claimant will need

               23   to submit an Opt In Form.       Those Opt In Forms can be filed

               24   Online.    Once the participation thresholds, and then there are

00:17          25   sub-thresholds that are met, then the settlement becomes




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 13 of 48 PageID: 21279
                                                                                         13


                1   effective.    The Overall Threshold for example is 95 percent of

                2   the claims.    Once 95 percent of the Overall Threshold is met,

                3   that concludes the sum of filed cases and unfiled claims.           And

                4   if sub-thresholds are met as well, the settlement is effected.

00:18           5            Then to receive the settlement award, a plaintiff or

                6   claimant will also need to submit a claim package and that's

                7   to support the injury alleged use of Olmesartan.          And then the

                8   allocations will be made among the plaintiffs and claimants in

                9   accordance with the evaluation of their claims.

00:18          10              MR. RAFFERTY:    Excuse me.

               11              THE COURT:    Sure.

               12              MR. RAFFERTY:    Yes, Your Honor.     I want to make sure

               13   we state everything correctly.

               14              THE COURT:    Sure.

00:18          15              (Counsel conferring)

               16              MR. RAFFERTY:    I'm sorry, Your Honor.      Go ahead.

               17              MR. MARVIN:    Your Honor, this sort of maps out the

               18   steps to be taken in accordance with the settlement program.

               19            First, in the announcement of the settlement, that's

00:19          20   today.   There's a period of time then for plaintiffs to Opt-In

               21   to the settlement.      The claim administrator will review the

               22   Opt-In packages.     The claims administrator will then calculate

               23   the participation rate.      And then once the thresholds are met

               24   as noted before, the obligation to fund the settlement is

00:19          25   triggered.    Actually before that occurs, plaintiffs can begin




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 14 of 48 PageID: 21280
                                                                                         14


                1   submitting claims packages.      The Claims Administrator will

                2   review those claims packages for completeness, eligibility and

                3   preliminary point awards.      And if the claims package is

                4   complete and the claim eligible, the Claims Administrator will

00:20           5   send an award setting out the points in accordance with the

                6   matrix and the procedures.

                7           As I mentioned before, the due process protections are

                8   built into this so that once the claimant is notified of the

                9   point award, then they have the right to have that

00:20          10   re-evaluated, a number of steps.       And often these claim

               11   packages are touched by the Claims Administrator or the

               12   Eligibility Committee five, six times.        At the end of that

               13   process, the points for all the claims are totalled.          The

               14   point value calculated, liens are resolved and paid and

00:21          15   payments then made to the claimant.

               16              MR. RAFFERTY:    Okay.   Yes, I think these are some of

               17   the keep dates that once everything is implemented after today

               18   will be going forward, the ones that people are going to want

               19   to know August 23rd for a claimant that has not yet been filed

00:21          20   or a retainer agreement must be in place.         But August 23rd is

               21   the date, basically the date by which you have gotten a

               22   retainer agreement signed by the client or the case has been

               23   on file.    After that the claims will not be eligible for a

               24   resolution program.     August 25th cases and claims must be

00:21          25   registered with the requirements set out in the census order




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 15 of 48 PageID: 21281
                                                                                           15


                1   that was provided to Your Honor.           September 15th the deadline

                2   for submitting the Opt-In Forms for people to actually be

                3   Opting into the settlement at that point as compared to

                4   August 25th which is the Census Order.           It's not actually the

00:22           5   Opt-In date for the settlement to be clear.           And then 30 days

                6   filing the date, the settlement becomes the 30th filing, the

                7   date the settlement becomes effective, the deadline for

                8   submitting claims packages begins.

                9               MR. MARVIN:    So that completes then the overview of

00:22          10   the program.      And once again, we appreciate the time and

               11   opportunity that both of you as Judges have given us to put

               12   together this program.        Thank you.

               13               MR.   RAFFERTY:    Just, and, Doug, I just want to make

               14   clear.   I think I might have misspoke when we were looking at

00:22          15   injury Category VI.       In terms of the symptoms.     The symptoms

               16   need to persist for 30 days, the 30 days up there.          I just

               17   want to be -- make sure it was clear to the people who may be

               18   reading the transcript at some point in case I misspoke.

               19               MR. MARVIN:    That's true.      The requirement is 30 days

00:22          20   that you have to be on Olmesartan for 30 days in order to be

               21   eligible for the settlement.

               22               MR. COFFIN:    Okay.   Thank you, Mr. Marvin and Mr.

               23   Rafferty.

               24            Your Honor, is there anything you want to address now

00:23          25   before we move on to claims administration.




                                      United States District Court
                                           Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 16 of 48 PageID: 21282
                                                                                          16


                1              THE COURT:    Nope.

                2              MR. COFFIN:    Okay.   Next, Your Honor, Mr. Orran Brown

                3   is here from the firm of Brown Greer.        Brown Greer has been

                4   chosen by the parties to administer the settlement and Mr.

00:23           5   Brown can go through his company's experience and give us a

                6   little background about claims administration.

                7              MR. BROWN:    Thank you.    Good morning, Your Honor.

                8              THE COURT:    Good morning.

                9              MR. BROWN:    I'm Orran Brown, Brown Greer from

00:23          10   Richmond, Virginia.      I'm joined here today by Bill Strunk

               11   who's one of our partners and he and I will be the leaders in

               12   operating or helping to implement this settlement.          We are

               13   delighted to be here.      We are delighted to be involved in this

               14   program.    We have worked on many settlement programs with

00:23          15   these counsel in other matters and this process that you've

               16   heard described as one that we're very familiar with in terms

               17   of the stages that along which this program will proceed.            We

               18   specialize in designing the systems and training the people

               19   and having the reviewers and the experts in making sure that

00:24          20   this is implemented correctly.        We build all the systems for

               21   this ourselves with our own people.        We do not outsource

               22   anything, but we design this to be secure, to be easy to use

               23   in going through the steps in this process and to move the

               24   claims along correctly and fairly and quickly.         And we have

00:24          25   done this in many programs beginning with Dalkon Shield back




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 17 of 48 PageID: 21283
                                                                                         17


                1   in 1989.    We have worked on the Fen-Phen Dye Drug Settlement.

                2   We have worked on NuvaRing, Pradaxa, Vioxx, the DePuy ASR Hip

                3   Replacement Program.     These are just examples of some of the

                4   ones that we've done that involve drugs, medical devices and

00:25           5   personal injuries.     We have worked on the BP Oil Spill Claims

                6   Program and the Chinese Dry Wall litigation.         So we have a lot

                7   of experience in these type of settlement programs and how to

                8   take the settlement document make sure that we set up a

                9   process to implement this correctly.        We work with, closely

00:25          10   with the parties, the representatives of the plaintiffs and

               11   the defendants and with the court and Special Master to make

               12   sure we do this correctly.      We are an independent mutual.       We

               13   have no bias, we are not influenced by any one side or the

               14   other.   We do this straight down the middle to make sure it's

00:25          15   done and we have uniform fair outcomes for all the claimants

               16   who participate in it.      And this program the stages that you

               17   heard described of the initial registration census, the

               18   enrollment or opt-in phase and the claims review and payment

               19   phase, including the extraordinary injury fund that's part of

00:26          20   this program.    These are pieces or stages that we have seen in

               21   many programs and implemented successfully in many programs

               22   and we will do that here.      We are ready to go today if the

               23   court were to approve the Order.       We have already built and

               24   designed the settlement website.       It's a public facing website

00:26          25   that then lawyers who represent these product users will go to




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 18 of 48 PageID: 21284
                                                                                           18


                1   that website and then we have the function there to register,

                2   register claimants or their clients for filed and unfiled

                3   cases.   And it's just a step by step click here, go on line

                4   and then they establish the secure portal with us and exchange

00:26           5   with us on line so that all of the information that they give

                6   us and all of the notices that we give them on outcomes, it's

                7   all exchanged in that secure internet connection.          We try to

                8   use the technology as much as we can in a program like this

                9   where everyone will be represented and will stay represented

00:27          10   by lawyers unless somebody were to discharge a lawyer later

               11   and become Pro Se.     They'll work with us on line to make all

               12   of this work correctly.      And we've worked with these firms

               13   before and they're very familiar with these processes and

               14   we're confident that they'll work smoothly here.          We share

00:27          15   that information in that secure on line system.          All of the

               16   steps that you heard described will all be submitted to us in

               17   that process, the documents the medical records.          We review

               18   them on line ourselves.      We issue the results to the parties

               19   and we provide constant reporting on what's going on.           It's a

00:27          20   fully open book about what we have, where we stand.          Any law

               21   firm can look up his or her clients at anytime to see exactly

               22   where they are in the process.       Each law firm is assigned a

               23   law firm contact in our firm that is their go-to person

               24   whenever they have a question or need or anything we can help

00:28          25   them with, they go straight to us.        This is not a bureaucracy.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 19 of 48 PageID: 21285
                                                                                            19


                1   We're not here to trip up people.       We are here to make these

                2   claims, to make the system easy to submit these claims and

                3   review them correctly and help people get through the process.

                4   And the court, whatever reports the court wants from us, we

00:28           5   will furnish on whatever schedule.        We post reports daily on

                6   progress that the parties, the lead for the plaintiffs and the

                7   defendants can go on line and look at them at anytime.           They

                8   can ask us for any special reports they need, and the court,

                9   if the court would like can have its own portal access with us

00:28          10   to look up reports whenever you would like.         And, of course,

               11   if you have any particular need, all you have to do is contact

               12   us.   We've worked with the Special Master in other programs.

               13   The Special Master also shares information with us on line

               14   back and forth.     So it's a cohesive system that uses

00:29          15   technology to the best advantage to move these claims quickly

               16   through the process and get them finished.         And we are really

               17   honored to be working on this and delighted to be here today.

               18   And if the court has any questions of us, I'm happy to answer

               19   them about what we foresee happening.        But this is a good

00:29          20   settlement.    It has the right pieces in it we think, and we

               21   will build on our experience in similar programs to make sure

               22   this one is done correctly.

               23           I do have, Your Honor, a short handout that's just

               24   background on our firm.      If the Court would like to have it.

00:29          25   It's just a little bit of our experience because we have not




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 20 of 48 PageID: 21286
                                                                                           20


                1   worked with you directly before, and we want you to feel

                2   comfortable that this settlement is in good hands for the

                3   Claims Administration.

                4             THE COURT:    May I ask a question first?       The website,

00:30           5   it's going up as soon as I sign these Orders sometime today?

                6             MR. BROWN:    Yes, Your Honor.

                7             THE COURT:    Now if somebody, somebody out in Oregon

                8   who does not have a lawyer and hasn't filed a claim sees about

                9   the settlement and says, hey, you know what?         Maybe, maybe

00:30          10   that's why I have this intestinal problem.         Can they -- are

               11   they going to be able to go on the website and find out what

               12   they should do next?

               13             MR. BROWN:    Anyone can go on the website, your Honor,

               14   and find it, what they can do next.        Now in this program an

00:30          15   unrepresented product user has to have a lawyer by August 23rd

               16   before they can participate.

               17             THE COURT:    Will the website tell them that?

               18             MR. BROWN:    Yes, the website will explain all of

               19   that.

00:30          20             THE COURT:    Okay.

               21             MR. BROWN:    They'll have the settlement document, the

               22   settlement agreement, all the forms will be there.          They can

               23   view it all and it will have our contact information.           If

               24   somebody has a question, they can call us and we will help

00:31          25   them.   So if anybody has any, any need or question about how




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 21 of 48 PageID: 21287
                                                                                             21


                1   it works or whether they can or can't begin it, all they have

                2   to do is contact us.

                3              THE COURT:   Okay.

                4              MR. BROWN:   But we're ready to launch that website as

00:31           5   soon as the court gives us the green light and it will be up

                6   and running today and people can start registering their

                7   clients today, either individually, because the form will be

                8   on line and they can click and fill or there's a bulk excel

                9   function, as the firm has more than one or how ever many it is

00:31          10   clients.    They give us the required information in the excel

               11   and we will dump it into the system so it's all there.           And

               12   that information then is used throughout the process.            They

               13   only have to enter that part once to us.        From then on,

               14   everything builds on top of it.       We pre-fill the claim forms

00:31          15   so they already have the claimant's name.         Any of the

               16   information we already have is already there.         They can

               17   correct it.    They add on line whatever else they need to.             But

               18   all of that information will be available starting today and

               19   then build on itself throughout.

00:32          20              THE COURT:   Well, I think that I'd be interested in

               21   accessing it and getting status reports so if the, if the

               22   court would access it, I could get the information, for

               23   instance, as of that time how many claims have been filed and

               24   the status of the claims, where they are in the process.

00:32          25              MR. BROWN:   Yes, Your Honor.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 22 of 48 PageID: 21288
                                                                                          22


                1             THE COURT:    General data like that.      I don't care

                2   about individual claims.       I just want to know how it's moving

                3   up through the process.      We can set that up.

                4             MR. BROWN:    Yes.

00:32           5             THE COURT:    Okay.    Good.

                6             MR. BROWN:    We'll have that as soon as we start

                7   getting information, we'll start posting reports on how many

                8   people have registered and who those law firms are.

                9             THE COURT:    Okay.    Good.

00:32          10             MR. BROWN:    Now any one law firm can only see its own

               11   people.

               12             THE COURT:    Right.

               13             MR. BROWN:    It's secure by user from everybody else.

               14   The Court, the Special Master, the leadership counsel for the

00:32          15   defendants and the PNC can see overall statistics, and I think

               16   the Settlement Agreement allows them to see details on the

               17   claim packages and the leadership role.        But any individual

               18   lawyer can only see his or her own people and nobody else's.

               19   The Court can have access to whatever reports it wants.           We'll

00:33          20   make standard reports that show what we have and where it

               21   stands starting with registration, who's enrolled, who has

               22   claims.   Who has extraordinary injury claims.        There will be

               23   reports there that you can see 24/7 if you'd like to log on,

               24   look at them.    And you or your law clerks can use that anytime

00:33          25   you'd like to.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 23 of 48 PageID: 21289
                                                                                            23


                1             THE COURT:    That's good.     I'll be in touch with you

                2   about setting that up.

                3             MR. BROWN:    Thank you.     We will set that up.     May I

                4   hand this up?

00:33           5             THE COURT:    Yes, please.     Judge Schneider, did you

                6   have any questions at this time?

                7             MAGISTRARE JUDGE SCHNEIDER:       No.   Thank you.

                8             MR. COFFIN:    Thank you.

                9             THE COURT:    Thanks.

00:33          10             MR. BROWN:    Thank you, Your Honor.

               11             THE COURT:    Thanks.

               12             MR. COFFIN:    Thank you for your time and let us know

               13   if you need anything at all.

               14             THE COURT:    I will.    Thank you.

00:34          15             MR. COFFIN:    I may have missed it.       I don't know

               16   whether Mr. Brown actually stated the website address.

               17             THE COURT:    No.   I was waiting for that.      Is it in

               18   the Order?

               19             MR. COFFIN:    It is, yes.

00:34          20             THE COURT:    Okay.

               21             MR. COFFIN:    It's in the NSA.       But for the record,

               22   www.Olmesartanproductlitigationsettlement.com.         And as Mr.

               23   Brown indicated, once Your Honor signs the Orders today, it

               24   will be live for people to access.

00:34          25             THE COURT:    Great.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 24 of 48 PageID: 21290
                                                                                           24


                1              MR. COFFIN:    Next, Your Honor, Mr. Bob Marcino from

                2   Provideo Lien Resolution Company has engaged in lien

                3   resolution programs and multiple mass tort litigation

                4   settlements throughout the country.        Bob's here to address the

00:34           5   court briefly.

                6              THE COURT:     Mr. Marcino, could you spell your last

                7   name for us?

                8              MR. MARCINO:    M-a-r-c-i-n-o, Your Honor.

                9              THE COURT:     Thank you.

00:35          10              MR. MARCINO:    Good morning, Your Honor.      Thank you,

               11   Chris.   Bob Marcino from Provideo.       I'm also joined by Scott

               12   Denardo also from our firm.

               13            Provideo is a lien resolution and QSF administration

               14   firm.    Over the past six years we've handled many matters with

00:35          15   thousands of claimants like we have here in this litigation.

               16   Cases like Avandia, Yaz.      Y-a-z.   We are appointed to be the

               17   exclusive LAR Prodaxa.      The Stryker Hip Litigation, Right Hip

               18   Litigation.    Current matters like CA DuPont, LaGrand Duplow.

               19   We're very familiar with the lien resolution terms set out in

00:35          20   the MSA, and we'll be coordinating with Brown Greer with whom

               21   we've also worked on several cases.        And the when the time,

               22   when the appropriate time is reached for us to begin the

               23   processes, we will do that through coordination with the

               24   parties.

00:36          25              THE COURT:     I'm just curious.   What do you do to get




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 25 of 48 PageID: 21291
                                                                                           25


                1   access to the lien information from Medicare and Medicaid?           Is

                2   that accessible on line?

                3               MR. MARCINO:    Well, there's -- Medicare makes

                4   available a portal to claimants where they can go in and see.

00:36           5   However, in cases like this, the Medicare lien obligations are

                6   resolved through a model, and by that I mean instead of going

                7   one by one through each claimant with Medicare which is not

                8   equipped to do, we set up a model under which the liens are

                9   resolved.    And so that begins with what's called varication of

00:36          10   entitlement where we deliver the inventory list to Medicare,

               11   and they bring back to us a match list and then from that, we

               12   apply the model that will develop along with Medicare to

               13   resolve the Medicare liens.       With Medicaid it's really going

               14   out to all 50 States and their representatives.          We have

00:37          15   processes in place for that.       Some are fast, some are very

               16   slow but we're used to it, and in most of the cases Medicaid

               17   States have automatic reductions of liens and offsets or, you

               18   know, holdbacks are the worse case scenario.

               19               THE COURT:     How about the private insurers?    Do you

00:37          20   ever run into liens from the private insurers?         Any States

               21   that apply for that?

               22               MR. MARCINO:    Oh, of course.   You know, most of the

               23   private liens will be handled through a series of private lien

               24   resolution programs that will assemble with subrogation firms

00:37          25   who represent a lot of plan carriers.        There will be specific




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 26 of 48 PageID: 21292
                                                                                          26


                1   terms with similar reductions, similar caps or worse case

                2   scenarios.    Those processes also kick off around the same time

                3   that will start with the Government programs and then there's

                4   always sort of a smaller subset that have lien holders with

00:37           5   carriers that don't participate in these programs where we

                6   have to go one by one, and those are the ones that, you know,

                7   while we're keying all this up, while Brown Greer is doing its

                8   work, some of these liens won't be able to be finalized until

                9   we actually know award values because some lien holders don't

00:38          10   want to get engaged in that discussion until they know what

               11   the person's getting.

               12             THE COURT:     Right.   Who actually pays off the lien?

               13             MR. MARCINO:     We do, Your Honor.

               14             THE COURT:     Okay.

00:38          15             MR. MARCINO:     And a little clarification from -- with

               16   Mr. Marvin and Mr. Rafferty went through earlier.          The lien

               17   holders get paid after the claimants get paid.         Usually within

               18   30 to 60 days.     Medicare doesn't like to be paid really until

               19   the very end because we don't have anything in place to make

00:38          20   refunds or anything like that.        So, we go through a

               21   reconciliation process with Medicare.        Those funds remain in

               22   the Qualified Settlement Fund to be finalized.

               23             THE COURT:     All right.    Thank you.

               24             MR. MARCINO:     Thank you, Your Honor.

00:38          25             THE COURT:     Thank you.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 27 of 48 PageID: 21293
                                                                                          27


                1               MR. COFFIN:   Your Honors, the next, Miss Sharko is

                2   going to walk through the multiple Orders that you're aware of

                3   that attach to the MSA.

                4               MS. SHARKO:   Thank you.   And thank you to the Court

00:39           5   for all of the courtesies and professionalism in moving this

                6   case along to a swift and fair conclusion and to the

                7   Plaintiffs who have been worthy adversaries.         I will never

                8   look at the word static again.       I actually considered bringing

                9   a can of static guard to court today, but it might be a little

00:39          10   too much.

               11           We have five Orders we've presented to the court.           The

               12   first is the Census Order.      That's a very important Order

               13   because it will allow the parties and the administrators to

               14   have the number of cases which will then establish the

00:39          15   threshold for the settlement.

               16           Second, is the Special Master Order appointing Retired

               17   Judge Marina Corodemus.

               18           Third, is the Case Management Order which will give

               19   notice to people who are considering opting out, what it is

00:39          20   they will have to go through if they choose to opt out and

               21   pursue their cases.

               22           Fourth is the Stay Order staying everything so the

               23   parties can focus on getting into the settlement and getting

               24   it running.

00:40          25           And fifth is the Implementation Order which has all the




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 28 of 48 PageID: 21294
                                                                                            28


                1   deadlines and processes and the address of the Settlement

                2   Administrator.

                3           We ask that the Court in its discretion enter those

                4   five Orders today.     Parallel Orders have been submitted to

00:40           5   Judge Johnson.     We expect that he will enter them later today.

                6             THE COURT:    The first one you want is the census.           I

                7   think, if we looked at the numbers, I think this would be

                8   Management Order Number 30 I believe?        And we left off at 29.

                9   So this would be Number 30.

00:40          10             MS. SHARKO:    That sounds right, yes.      Right.

               11             THE COURT:    So I'll fill in Number 30, Case

               12   Management Order Number 30 regarding census of claims.           I've

               13   reviewed that.     It's acceptable and I'm signing that right

               14   now.   We will have that filed.

00:41          15             MS. SHARKO:    Thank you.

               16             THE COURT:    The second one you wanted is the

               17   appointment of a Special Master.       I'm familiar with Judge

               18   Corodemus and her work and I'm happy she's on board because I

               19   have great confidence that she will get this resolved.           We'll

00:41          20   call that Number 31 then.       And I've reviewed it and I do

               21   believe it complies with the requirements of Rule 53.           So I

               22   will sign that, enter that.       And Judge Corodemus needs to file

               23   with us the affidavits of no conflict under the Statute, and

               24   she will do that shortly I understand?

00:41          25             MS. SHARKO:    Yes.    I understand that Mr. Slater has




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 29 of 48 PageID: 21295
                                                                                          29


                1   them ready to go.

                2              MR. SLATER:   Yes, Judge.     I'll have it filed this

                3   afternoon.

                4              THE COURT:    Okay.    The next one you want is the Case

00:42           5   Management Order regarding the Settlement Agreement and

                6   deadlines.    Is that the one?

                7              MS. SHARKO:   Yes.

                8              THE COURT:    That will be then 32.     I've reviewed this

                9   and this is acceptable and I will sign that now, and we'll

00:42          10   file that immediately.

               11              MS. SHARKO:   Thank you.

               12              THE COURT:    And the Stay, the Order for Limited Stay

               13   is the caption on this and I'll sign that also.          File that

               14   today.

00:42          15              MS. SHARKO:   Thank you.

               16              THE COURT:    And then is the Implementation Order and

               17   that's what we've been calling that the Lone Pine Order.

               18   Correct?

               19              MS. SHARKO:   No.     The Lone Pine Order would be 32.

00:43          20              THE COURT:    That was number 32.

               21              MS. SHARKO:   Lone Pine Order.      It is called the

               22   Olmesartan Settlement Agreement and deadlines.

               23              THE COURT:    Oh, I see it.    Okay.   I need to get

               24   another copy of that but that would -- oh, I -- we have

00:43          25   reviewed that and that's acceptable.        I will sign that.     I




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 30 of 48 PageID: 21296
                                                                                         30


                1   just have to printout a new copy of that one.         Okay.

                2             MS. SHARKO:    Okay.    Thank you.

                3             THE COURT:    Thank you.    All right, there's one more

                4   application, right?

00:43           5             MR. COFFIN:    Yes, Your Honor.      Last Friday the

                6   plaintiffs filed a motion and memorandum asking the court to

                7   set a Common Benefit Fee and Cost Assessment.         If I could

                8   address that briefly, Your Honor?

                9             THE COURT:    Yes.

00:44          10             MR. COFFIN:    As you'll recall, back towards the

               11   beginning of this litigation, an Order on May 25th, 2015 CMO

               12   Number 3, the court created a Common Benefit Litigation Fund

               13   for the purpose of setting forth the common benefit expense

               14   procedures and the common benefit time keeping procedures

00:44          15   which the plaintiffs have implemented throughout this entire

               16   case.   We have kept track of all of the expenses on the

               17   plaintiffs' side.     We have kept track of all the time that has

               18   been submitted.

               19           The motion before the court is a request that the court

00:44          20   enter an Order assessing the fee, an assessment amount of

               21   eight percent.     Six percent of that will be common benefit

               22   fees to compensate the common benefit lawyers who have

               23   participated in this case.       Two percent of that assessment

               24   will go towards covering the common benefit expenses.           As Your

00:45          25   Honor well knows, the case law is very clear in the MDL




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 31 of 48 PageID: 21297
                                                                                           31


                1   context that common benefits in assessments are appropriate.

                2   The request for six and two percent, as you will see from the

                3   cases that we've cited is well within what's reasonable in a

                4   complex pharmaceutical case such as this.

00:45           5            To give you a very brief thumb nail sketch, there have

                6   been over 56,000 hours submitted for common benefit time to

                7   date.    There is about 3.4 million dollars in expense

                8   currently.    Obviously we have a massive undertaking with the

                9   whole claims administration process.        So there are additional

00:46          10   expenses that will continue.

               11            To be clear, any expenses that are not used throughout

               12   the claims administration process and to finalizing all of the

               13   claims in the settlement will be distributed back to the

               14   plaintiffs, to the client, to the claimants on a pro rata

00:46          15   basis.   There have been approximately a hundred depositions

               16   covered totally in the case.       There were dozens of corporate

               17   depositions, some of which took place in Hawaii.          Thank you,

               18   Judge Schneider.

               19              MAGISTRATE JUDGE SCHNEIDER:      No.   Judge Kugler.

00:46          20              MR. COFFIN:   Thank you, Judge Kugler.       Although the

               21   grass is always greener on the other side, I think I speak for

               22   all of my colleagues on the defense and plaintiffs' side when

               23   I say that initially we thought that was just great.          But, you

               24   know, you start planning and you have to deal with, these were

00:47          25   Japanese witnesses obviously and we were dealing with




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 32 of 48 PageID: 21298
                                                                                         32


                1   interpreters, it was a massive, massive undertaking to

                2   interpret the documents, to have interpreters there at the

                3   depositions for both sides and to go through the process of

                4   traveling, setting that up and actually taking the deposition.

00:47           5   That's included within the proximate 100 depositions that we

                6   took but certainly was a new experience for me and it was

                7   quite labor intensive for a number of lawyers.         The countless

                8   motions and arguments before the court, as you well know and

                9   millions of documents that were reviewed and prepared to

00:47          10   support memorandums that were submitted to the court not the

               11   least of which were oppositions to Daubert briefing and added

               12   to our on the Plaintiffs' side our own offenses Daubert

               13   briefing which were fully briefed and submitted to Your

               14   Honors.

00:47          15             And last but not least as I mentioned earlier, we spent

               16   hundreds and hundreds of hours in coming to a resolution of

               17   this case and I think Mr. Slater did a fine job of stating

               18   that the goal here is to ensure that the plaintiffs and the

               19   claimants are adequately compensated, and we feel like from

00:48          20   the plaintiffs' perspective we have done a very fine job in

               21   representing our clients and ensuring that people are

               22   adequately compensated under this settlement.

               23             So with that, Your Honor, we would ask that you enter

               24   our -- an order assessing an eight percent common benefit

00:48          25   assessment, six percent fee and two percent costs.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 33 of 48 PageID: 21299
                                                                                          33


                1             THE COURT:    I still have some questions about this

                2   and I'm not suggesting for a moment that I have any objections

                3   to it, but I think we need to give people an opportunity to

                4   respond to this motion and I'm going to propose that we have a

00:48           5   return date on your motion in two weeks, August the fifteenth

                6   and we'll make it clear that by Order of Docket Entry that

                7   anyone who objects to it has to respond in writing I think by

                8   August eleventh, and then I'll have a hearing on the fifteenth

                9   if there are any objections.

00:49          10           But let's go down the road a bit and let's assume that

               11   it gets entered and money is withheld in order to reimburse

               12   you and you've stated that if there's leftover money, it goes

               13   back in the fund to reimburse the plaintiffs.         Who makes the

               14   decision as to whether this money that's going to be leftover,

00:49          15   how does that get resolved?      I mean you're going to have,

               16   obviously there's receipts for all kinds of things that you

               17   gave as out-of-pocket cost receipts, and do you have a CPA who

               18   is going to reconcile these counts so we know and a report can

               19   be made to the court that a review was done, we found, we've

00:49          20   confirmed expense in this amount and so forth?

               21             MR. COFFIN:    Yes, Your Honor.     Very good question.

               22   First and foremost at the, I think it's the last paragraph of

               23   the Proposed Order that we've submitted, Your Honor, we

               24   mentioned that we will come back to the court and ask for the

00:50          25   court to appoint what would be a, basically a fee and cost




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 34 of 48 PageID: 21300
                                                                                          34


                1   committee on the plaintiffs' side who will go through that

                2   exercise of looking at the time, looking at the expenses and

                3   determining how much money is needed to cover all of the fees

                4   and expenses.    To your direct point about a CPA, yes, we had a

00:50           5   CPA involved in this case from the start and we can have an

                6   audit done on all expenses at the very end.

                7            My proposal is that once we are in a position to

                8   present to Your Honor a motion to appoint the Common Benefit

                9   Fee Committee, the cost committee, that we layout for you and

00:50          10   discuss the parameters of what we'll have the court approve

               11   with regard to both fees and costs.

               12              THE COURT:    Now under the Master Settlement Agreement

               13   there are timed payments being made by the defendants to fund

               14   this thing.    Where does the money -- who's going to hold the

00:51          15   money for the costs for the common benefit?         Who holds that?

               16              MR. COFFIN:   There's a qualified settlement fund

               17   that, into which all of the funds are submitted.

               18              THE COURT:    So they're all going to be one lump sum

               19   and you're just going to take it out of that.         There's not

00:51          20   going to be a separate fund set up for the costs, common

               21   benefit costs.

               22              MR. COFFIN:   No, there will not, no.

               23              THE COURT:    Okay.

               24              MR. COFFIN:   At least not to my knowledge, Your

00:51          25   Honor.   Provideo has also -- Mr. Marcino who's speaking, not




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 35 of 48 PageID: 21301
                                                                                           35


                1   only did he do the redeem resolution, but they handled the

                2   qualified settlement fund as well.        Mr. Marvin, do you have

                3   any comments on how that money is handled?

                4             MR. MARVIN:    No, there will be the one fund in the

00:51           5   qualified settlement fund and then the qualified settlement

                6   fund administrator will establish sub-accounts for those

                7   matters such as withholding costs.

                8             THE COURT:    All right, thank you.       I know there's a

                9   lot of attorneys here from the Steering Committee and this is,

00:52          10   I understand you've just learned of this yesterday.          But does

               11   anybody want to make any comments on this application

               12   regarding the Common Benefit Fund?        You don't have to.     I mean

               13   I'm going to set a time frame as I just did, August eleventh

               14   and a hearing on the fifteenth if there's any objections.           But

00:52          15   if anybody is here now and they want to be heard on that, I'm

               16   happy to hear from them.

               17                           (No Response)

               18             THE COURT:    No takers.    Okay.     Fine.

               19             MR. COFFIN:    Okay.    Anything further on the common

00:52          20   benefit motion?

               21             THE COURT:    No, not me.     Judge Schneider?

               22             MAGISTRATE JUDGE SCHNEIDER:         No.

               23             THE COURT:    All right.

               24             MR. COFFIN:    Your Honor, from both parties' side,

00:52          25   that concludes what we wanted to present to the court today.




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 36 of 48 PageID: 21302
                                                                                            36


                1   But to reiterate what my colleagues have said, it's truly been

                2   a pleasure to practice in this court.        We thank you, Judge

                3   Kugler and Judge Schneider for moving this case along.           We

                4   thank your staff, Larry, Carl.       Thank you for all the work

00:53           5   you've done.    Loretta for being so accommodating to us,

                6   especially when we were bothering you on multiple occasions to

                7   set up meetings with the court.       Thank you very much.      We've

                8   appreciated it.     My colleagues on the plaintiffs' side, it's

                9   been a joy working with all of you.        My co-lead, Mr. Slater.

00:53          10   It's really, really been a great process for us to go through

               11   and again on defense side, strong advocates, zealous advocates

               12   for their clients and it's been a great process to engage.              So

               13   thank you all very much.      We appreciate it.

               14             THE COURT:    Judge Schneider, any final remarks?

00:53          15             MAGISTRATE JUDGE SCHNEIDER:       I said it before when we

               16   were in conference, but I'll say it again.         From my

               17   perspective it was a pleasure dealing with these lawyers.             The

               18   Steering Committee, rest assured your leadership zealously

               19   represented your interests throughout the case.          Both sides I

00:54          20   think exhibited the highest standards of professionalism and

               21   excellence and from my perspective it was a pleasure working

               22   on this case.

               23           I don't want to say I'm sorry to see you go, but it,

               24   truly it was a pleasure and it's one of the highlights of my

00:54          25   ten years on the bench to work on this case with this caliber




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 37 of 48 PageID: 21303
                                                                                            37


                1   of lawyers.    We had some rough spots, but at all times

                2   everyone exhibited the utmost professionalism which was

                3   appreciated.     Miss Sharko, I thought instead of static, I

                4   thought you were going to say macro.

00:54           5           But with that, I'll turn it over to you, Judge.            And I

                6   also have to say that he's, he's very, very modest.          He

                7   doesn't like to take credit, but the captain of this whole

                8   ship was Judge Kugler.      We spent a lot of time together, but

                9   Judge Kugler steered this whole ship and he deserves the

00:55          10   credit for whatever efforts this court made, and behind the

               11   scenes he had great people.      My law clerk Eddie did a

               12   fantastic job.     Sara who just delivered her third baby girl.

               13   Karen who's sitting in.      Dave our intern, a whole lot of

               14   people behind the scenes, downstairs in the Clerk's Office who

00:55          15   teamed in on this effort.      But let's face it, the captain of

               16   the ship is Judge Kugler, even though knowing Judge Kugler, he

               17   won't take credit for what he really deserves all the credit

               18   for whatever efforts the court did.

               19             THE COURT:    Well, thank you for that, Judge

00:56          20   Schneider.     But it was your Herculean efforts that really put

               21   this thing to rest and I want to publicly thank you.          I

               22   privately thank you and I want to publicly thank you.             And

               23   you're right about our staff.       This is a great courthouse.         We

               24   have wonderful people working here.        We spend some time and

00:56          25   some effort picking our law clerks because we're looking for




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 38 of 48 PageID: 21304
                                                                                         38


                1   people who like to work and like to deal with the public.           We

                2   are here to serve the public.       We try not to ever forget that.

                3   That's our whole reason for being is to serve the public.           And

                4   I trust based on the results of this case, that we have done

00:56           5   that for all of you.     But the real heros in this case, the

                6   heros are you, the lawyers.      I've said this a number of

                7   occasions privately and now I want to take the opportunity to

                8   say it publically.

                9           When I first got this case and it's kind of a strange

00:56          10   way it came to me and I don't need to get into that, but I

               11   didn't know what to expect from the lawyers.         I may know what

               12   to expect from the case.      I mean it was going to be a lot of

               13   work for a lot of people.      But it didn't take long for me,

               14   dealing with you, to come to understand that you are terrific

00:57          15   lawyers, each and every one of you.        And it made it such a

               16   pleasure for me to watch you work.        And there were times when

               17   you didn't get along and you were zealous advocates for your

               18   positions which I appreciate.       I mean that's what you do and

               19   that's what you do very well.       But you are the cream of the

00:57          20   crop and we were blessed, Judge Schneider and I, to have you

               21   as lawyers in this courtroom and in this courthouse to get

               22   this case done.     You deserve all the credit for this

               23   settlement.    You deserve all the credit for the outcome of

               24   this settlement, and I just want to thank each and every one

00:57          25   of you for all you've done to make sure that all these




                                     United States District Court
                                          Camden, New Jersey
        Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 39 of 48 PageID: 21305
                                                                                         39


                1   thousands of people involved in this process have gotten some

                2   share of the justice that everyone deserves.

                3           So thank you, and enjoy the rest of your summer.          And I

                4   guess, I guess we will see you maybe once or twice in the

00:58           5   future just to tie up some loose ends in this case and I'll

                6   look forward to that.      And with any luck, maybe I'll see some

                7   of you again in the future in the court house.         Thanks,

                8   everybody.    Have a good one.

                9             MR. COFFIN:    Thank you, Your Honor.

00:58          10             MS. SHARKO:    Thank you, Your Honor.

               11             MR. SLATER:    Thank you, Your Honor.

               12             (The matter was then concluded)

               13
               14
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25



                                     United States District Court
                                          Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 40 of 48 PageID: 21306
                                                                                                                                   40


                /                          7              19:15                     36:8, 37:3                 beginning [2] -
                                                           adversaries [1] -         appropriate [2] -        16:25, 30:11
                                                          27:7                      24:22, 31:1                begins [2] - 15:8,
     /S [1] - 2:12              753 [1] - 2:12             adversary [1] - 6:1       approve [2] - 17:23,     25:9
                                                           advocates [3] -          34:10                      behalf [4] - 3:12, 5:4,
                0                          9              36:11, 38:17               arguments [1] - 32:8     5:5, 10:6
                                                           affidavits [1] - 28:23    aspect [1] - 8:13         behind [2] - 37:10,
                                                           afternoon [1] - 29:3      ASR [1] - 17:2           37:14
     08101 [1] - 1:7            95 [2] - 13:1, 13:2
                                                           agenda [2] - 3:20,        assemble [1] - 25:24      bench [1] - 36:25
                                                          7:9                        assessing [2] -           Benefit [5] - 4:14,
                1                         A                aggravation [1] -        30:20, 32:24              30:7, 30:12, 34:8,
                                                          11:9                       Assessment [1] -         35:12
     1 [3] - 1:8, 9:12, 9:20     able [4] - 5:16, 6:16,    agree [1] - 7:1          30:7                       benefit [10] - 30:13,
     100 [1] - 32:5            20:11, 26:8                 Agreement [7] -           assessment [3] -         30:14, 30:21, 30:22,
     15-2606 [1] - 1:5           acceptable [3] -         4:13, 8:12, 12:4,         30:20, 30:23, 32:25       30:24, 31:6, 32:24,
     15th [1] - 15:1           28:13, 29:9, 29:25         22:16, 29:5, 29:22,        assessments [1] -        34:15, 34:21, 35:20
     1989 [1] - 17:1             access [5] - 19:9,       34:12                     31:1                       benefits [1] - 31:1
     1st [1] - 9:9             21:22, 22:19, 23:24,        agreement [6] - 3:24,     assigned [2] - 12:6,      BENICAR [1] - 1:3
                               25:1                       9:20, 9:24, 14:20,        18:22                      BENJAMIN [1] - 1:14
                2                accessible [1] - 25:2    14:22, 20:22               assume [1] - 33:10        best [1] - 19:15
                                 accessing [1] -           ahead [2] - 10:3,         assured [1] - 36:18       bias [1] - 17:13
                               21:21                      13:16                      Atrophy [1] - 10:13       BIDDLE [1] - 1:19
     2 [1] - 10:19               accommodating [1]         allege [3] - 9:10,        attach [2] - 4:12,        Bill [1] - 16:10
     2015 [3] - 9:12, 9:20,    - 36:5                     9:18, 9:19                27:3                       bit [4] - 3:19, 4:5,
    30:11                        accordance [3] -          alleged [1] - 13:7        ATTORNEY [5] -           19:25, 33:10
     2017 [1] - 1:8            13:9, 13:18, 14:5           allocations [1] - 13:8   1:17, 1:18, 1:23, 2:1,     blessed [1] - 38:20
     23 [1] - 9:21               account [1] - 12:13       allow [2] - 10:1,        2:3                        board [1] - 28:18
     23rd [3] - 14:19,           accounts [1] - 35:6      27:13                      attorneys [1] - 35:9      Bob [2] - 24:1, 24:11
    14:20, 20:15                 achieved [1] - 9:2        allowed [1] - 6:9         ATTORNEYS [3] -           Bob's [1] - 24:4
     24/7 [1] - 22:23            ACTION [1] - 1:4          allows [2] - 6:22,       1:15, 1:21, 2:5            body [2] - 10:14,
     25th [3] - 14:24,           ADAM [1] - 1:13          22:16                      audit [1] - 34:6         10:25
    15:4, 30:11                  add [1] - 21:17           amount [2] - 30:20,       August [12] - 1:8,        bolts [1] - 7:21
     28 [1] - 2:11               added [1] - 32:11        33:20                     9:9, 9:21, 9:24, 14:19,    book [1] - 18:20
     29 [1] - 28:8               additional [1] - 31:9     AMY [1] - 2:2            14:20, 14:24, 15:4,        bothering [1] - 36:6
                                 address [9] - 4:4,        announce [1] - 3:14      20:15, 33:5, 33:8,         BP [1] - 17:5
                3              4:11, 4:14, 4:22,           announcement [1] -       35:13                      BRENNAN [2] - 1:21,
                               15:24, 23:16, 24:4,        13:19                      automatic [1] - 25:17    2:1
                               28:1, 30:8                  answer [1] - 19:18        available [2] - 21:18,    brief [3] - 9:3, 12:2,
     3 [1] - 30:12
                                 adequately [2] -          anytime [3] - 18:21,     25:4                      31:5
     3.4 [1] - 31:7
                               32:19, 32:22               19:7, 22:24                Avandia [1] - 24:16       briefed [1] - 32:13
     30 [11] - 11:21, 15:5,
                                 adjustment [2] -          appeal [1] - 8:24         award [4] - 13:5,         briefing [2] - 32:11,
    15:16, 15:19, 15:20,
    26:18, 28:8, 28:9,         12:10, 12:19                appearance [1] - 3:4     14:5, 14:9, 26:9          32:13
                                 adjustments [2] -         appeared [1] - 5:16       awards [1] - 14:3         briefly [2] - 24:5,
    28:11, 28:12
                               12:7, 12:17                 Appendix [1] - 12:3       aware [2] - 7:12, 27:2   30:8
     300 [1] - 3:18
     30th [1] - 15:6             administer [1] - 16:4     application [2] -                                   bring [2] - 11:24,
     31 [1] - 28:20              administering [1] -      30:4, 35:11                         B               25:11
     32 [3] - 29:8, 29:19,     4:9                         applications [1] - 3:8                              bringing [1] - 27:8
    29:20                        administration [6] -      apply [2] - 25:12,                                  broad [1] - 4:2
                                                                                     baby [1] - 37:12
                               3:21, 15:25, 16:6,         25:21                                                brown [3] - 16:3,
                                                                                     background [2] -
                               24:13, 31:9, 31:12          appoint [2] - 33:25,
                5                Administration [2] -     34:8
                                                                                    16:6, 19:24
                                                                                                              23:16, 23:23
                                                                                                               Brown [8] - 4:8, 16:2,
                                                                                     base [2] - 12:7, 12:8
                               4:8, 20:3                   appointed [1] - 24:16                              16:3, 16:5, 16:9,
     50 [1] - 25:14                                                                  based [3] - 8:18,
                                 Administrator [5] -       appointing [1] -                                   24:20, 26:7
                                                                                    12:8, 38:4
     53 [1] - 28:21            8:23, 14:1, 14:4,          27:16                                                BROWN [16] - 2:4,
                                                                                     basis [1] - 31:15
     56,000 [1] - 31:6         14:11, 28:2                 appointment [1] -                                  2:4, 16:7, 16:9, 20:6,
                                 administrator [3] -                                 become [1] - 18:11
                                                          28:17                                               20:13, 20:18, 20:21,
                                                                                     becomes [3] - 12:25,
                6              13:21, 13:22, 35:6          appreciate [5] - 7:6,
                                                                                    15:6, 15:7
                                                                                                              21:4, 21:25, 22:4,
                                 administrators [1] -     7:8, 15:10, 36:13,                                  22:6, 22:10, 22:13,
                               27:13                      38:18                      begin [3] - 13:25,       23:3, 23:10
     60 [1] - 26:18              advantage [1] -           appreciated [2] -        21:1, 24:22                BRUCE [1] - 1:22




                                    United States District Court
                                         Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 41 of 48 PageID: 21307
                                                                                                                                  41


     build [3] - 16:20,         certainly [2] - 7:8,     7:7, 7:8, 18:2, 18:21,     completes [1] - 15:9     34:11, 34:15, 34:20,
    19:21, 21:19               32:6                      21:7, 21:10, 32:21,        complex [2] - 5:3,       34:21, 35:7
     builds [1] - 21:14         Certified [1] - 2:11     36:12                     31:4                       counsel [10] - 3:9,
     built [5] - 8:22, 9:22,    Challenge [2] -           closely [1] - 17:9        complies [1] - 28:21     4:18, 4:21, 9:14, 9:21,
    10:16, 14:8, 17:23         10:19, 10:23               CMO [1] - 30:11           concluded [1] -          9:22, 13:15, 16:15,
     bulk [1] - 21:8            characteristics [1] -     co [3] - 4:17, 4:21,     39:12                     22:14
     bureaucracy [1] -         12:8                      36:9                       concludes [2] - 13:3,     countless [1] - 32:7
    18:25                       characters [1] - 3:5      co-lead [3] - 4:17,      35:25                      country [2] - 6:2,
     BY [2] - 1:20, 2:4         Chinese [1] - 17:6       4:21, 36:9                 conclusion [1] - 27:6    24:4
                                choose [1] - 27:20        COFFIN [22] - 1:13,       condition [1] - 11:10     counts [1] - 33:18
               C                chosen [1] - 16:4        3:11, 7:1, 15:22, 16:2,    conditions [1] -          course [2] - 19:10,
                                Chris [2] - 3:12,        23:8, 23:12, 23:15,       11:11                     25:22
                               24:11                     23:19, 23:21, 24:1,        conference [2] - 3:6,     court [41] - 3:1, 4:5,
     CA [1] - 24:18
                                CHRISTOPHER [1] -        27:1, 30:5, 30:10,        36:16                     4:11, 4:15, 4:22, 5:6,
     calculate [1] - 13:22
                               1:13                      31:20, 33:21, 34:16,       conferring [1] -         5:11, 5:13, 5:15, 5:16,
     calculated [1] -                                    34:22, 34:24, 35:19,
                                cited [1] - 31:3                                   13:15                     6:18, 8:5, 9:8, 17:11,
    14:14                                                35:24, 39:9
                                CIVIL [1] - 1:4                                     confidence [1] -         17:23, 19:4, 19:8,
     caliber [1] - 36:25                                  Coffin [3] - 3:10,                                 19:9, 19:18, 21:5,
                                claim [10] - 3:20,                                 28:19
     Camden [1] - 1:7                                    3:12, 5:18                 confident [1] - 18:14    21:22, 24:5, 27:9,
                               8:20, 8:21, 13:6,
     candor [1] - 8:3          13:21, 14:4, 14:10,        Cohen [1] - 1:6           confirmed [1] -          27:11, 30:6, 30:12,
     caps [1] - 26:1           20:8, 21:14, 22:17         cohesive [1] - 19:14     33:20                     30:19, 32:8, 32:10,
     captain [2] - 37:7,        claimant [10] - 8:21,     colleagues [4] -          conflict [1] - 28:23     33:19, 33:24, 33:25,
    37:15                      10:17, 10:20, 12:9,       7:25, 31:22, 36:1,         connection [1] - 18:7    34:10, 35:25, 36:2,
     caption [1] - 29:13       12:22, 13:6, 14:8,        36:8                       considered [2] -         36:7, 37:10, 37:18,
     care [1] - 22:1           14:15, 14:19, 25:7         comfortable [1] -        12:15, 27:8               39:7
     Carl [3] - 2:12, 3:4,      claimant's [1] -         20:2                       considering [1] -         Court [7] - 4:3, 9:8,
    36:4                       21:15                      coming [1] - 32:16       27:19                     19:24, 22:14, 22:19,
     carriers [2] - 25:25,      claimants [14] - 8:15,    comments [3] - 7:25,      consisted [1] - 7:13     27:4, 28:3
    26:5                       9:5, 9:6, 9:7, 9:17,      35:3, 35:11                constant [1] - 18:19      COURT [56] - 1:1,
     case [30] - 3:13,         11:3, 13:8, 17:15,         Committee [5] -           contact [5] - 9:22,      3:2, 3:3, 4:24, 7:23,
    3:16, 4:20, 7:8, 9:13,     18:2, 24:15, 25:4,        4:19, 14:12, 34:9,        18:23, 19:11, 20:23,      13:11, 13:14, 16:1,
    9:15, 9:17, 12:19,         26:17, 31:14, 32:19       35:9, 36:18               21:2                      16:8, 20:4, 20:7,
    14:22, 15:18, 25:18,        Claims [7] - 4:8,         COMMITTEE [1] -           contacted [1] - 9:23     20:17, 20:20, 21:3,
    26:1, 27:6, 30:16,                                   1:17                                                21:20, 22:1, 22:5,
                               8:23, 14:1, 14:4,                                    context [1] - 31:1
    30:23, 30:25, 31:4,        14:11, 17:5, 20:3          committee [6] - 7:12,                              22:9, 22:12, 23:1,
                                                                                    continuation [1] -
    31:16, 32:17, 34:5,         claims [33] - 8:19,      7:17, 8:24, 10:7, 34:1,                             23:5, 23:9, 23:11,
                                                                                   10:22
    36:3, 36:19, 36:22,        9:5, 9:6, 10:5, 11:25,    34:9                                                23:14, 23:17, 23:20,
                                                                                    continue [2] - 11:13,
    36:25, 38:4, 38:5,         12:5, 13:2, 13:3, 13:9,    common [11] -                                      23:25, 24:6, 24:9,
                                                                                   31:10
    38:9, 38:12, 38:22,        13:22, 14:1, 14:2,        30:13, 30:14, 30:21,                                24:25, 25:19, 26:12,
                                                                                    contours [1] - 9:1
    39:5                       14:3, 14:13, 14:23,       30:22, 30:24, 31:1,                                 26:14, 26:23, 26:25,
                                                                                    coordinating [1] -
     Case [3] - 27:18,         14:24, 15:8, 15:25,       31:6, 32:24, 34:15,                                 28:6, 28:11, 28:16,
                                                                                   24:20
    28:11, 29:4                16:6, 16:24, 17:18,       34:20, 35:19                                        29:4, 29:8, 29:12,
                                                                                    coordination [1] -
     cases [19] - 4:2, 4:3,    19:2, 19:15, 21:23,        Common [5] - 4:14,                                 29:16, 29:20, 29:23,
                                                                                   24:23
    5:10, 7:4, 9:7, 9:9,       21:24, 22:2, 22:22,       30:7, 30:12, 34:8,                                  30:3, 30:9, 33:1,
                                                                                    copy [2] - 29:24,
    9:18, 12:15, 12:18,        28:12, 31:9, 31:12,       35:12                                               34:12, 34:18, 34:23,
                                                                                   30:1
    13:3, 14:24, 18:3,         31:13                      Company [2] - 4:8,                                 35:8, 35:18, 35:21,
                                                                                    Corodemus [3] -
    24:16, 24:21, 25:5,         clarification [1] -      24:2                                                35:23, 36:14, 37:19
                                                                                   27:17, 28:18, 28:22
    25:16, 27:14, 27:21,       26:15                      company's [1] - 16:5                                courtesies [1] - 27:5
                                                                                    corporate [1] - 31:16
    31:3                        clear [6] - 15:5,         compared [1] - 15:3                                 Courthouse [1] - 1:6
                                                                                    correct [3] - 2:11,
     cast [1] - 3:5            15:14, 15:17, 30:25,       compensate [1] -                                    courthouse [2] -
                                                                                   21:17, 29:18
     categories [3] -          31:11, 33:6               30:22                                               37:23, 38:21
                                                                                    correctly [8] - 13:13,
    10:11, 11:6, 11:22          clerk [1] - 37:11         compensated [2] -                                   courtroom [1] -
                                                                                   16:20, 16:24, 17:9,
     Category [2] - 11:15,      CLERK [1] - 3:2          32:19, 32:22                                        38:21
                                                                                   17:12, 18:12, 19:3,
    15:15                       Clerk's [1] - 37:14       compensation [1] -                                  cover [1] - 34:3
                                                                                   19:22
     causes [1] - 10:17         clerks [2] - 22:24,      12:16                                                covered [1] - 31:16
                                                                                    corresponding [2] -
     census [4] - 14:25,       37:25                      complaining [1] -                                   covering [1] - 30:24
                                                                                   10:13, 11:4
    17:17, 28:6, 28:12          click [2] - 18:3, 21:8   9:18                                                 CPA [3] - 33:17,
                                                                                    cost [3] - 33:17,
     Census [2] - 15:4,         client [2] - 14:22,       complete [1] - 14:4                                34:4, 34:5
                                                                                   33:25, 34:9
    27:12                      31:14                      completeness [1] -                                  cream [1] - 38:19
                                                                                    Cost [1] - 30:7
     certain [1] - 12:6         clients [9] - 6:21,      14:2                                                 created [1] - 30:12
                                                                                    costs [6] - 32:25,




                                    United States District Court
                                         Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 42 of 48 PageID: 21308
                                                                                                                                   42


     credit [6] - 37:7,          described [3] -          dump [1] - 21:11           Entry [1] - 33:6          facing [1] - 17:24
    37:10, 37:17, 38:22,        16:16, 17:17, 18:16       Duplow [1] - 24:18         equality [2] - 8:10,      fact [1] - 11:11
    38:23                        deserve [2] - 38:22,     DuPont [1] - 24:18        8:15                       failure [2] - 12:18,
     criteria [2] - 4:3, 12:4   38:23                     during [1] - 8:18          equally [1] - 8:16       12:19
     crop [1] - 38:20            deserves [3] - 37:9,     Dye [1] - 17:1             equipped [1] - 25:8       fair [3] - 10:9, 17:15,
     curious [1] - 24:25        37:17, 39:2                                          especially [1] - 36:6    27:6
     current [1] - 24:18         design [1] - 16:22                 E                ESQUIRE [15] - 1:13,      fairly [2] - 5:9, 16:24
                                 designed [1] - 17:24                               1:13, 1:14, 1:14, 1:15,    fairness [2] - 8:10,
                D                designing [1] - 16:18
                                                          easy [2] - 16:22, 19:2
                                                                                    1:16, 1:18, 1:20, 1:20,   8:20
                                 details [2] - 3:23,                                1:21, 1:22, 2:1, 2:2,      fall [1] - 8:17
                                22:16                     echo [3] - 5:17, 7:2,     2:4, 2:5                   familiar [4] - 16:16,
     daily [1] - 19:5                                    7:25                        establish [4] - 8:8,
                                 determining [1] -                                                            18:13, 24:19, 28:17
     Dalkon [1] - 16:25                                   Eddie [1] - 37:11
                                34:3                                                18:4, 27:14, 35:6          fantastic [1] - 37:12
     data [1] - 22:1             develop [1] - 25:12      effected [1] - 13:4        establishing [2] -        fast [1] - 25:15
     date [7] - 14:21,           devices [1] - 17:4       effective [2] - 13:1,     9:4, 10:9                  Federal [1] - 4:3
    15:5, 15:6, 15:7, 31:7,                              15:7                        etiologies [3] -
                                 diagnosis [2] -                                                               Fee [2] - 30:7, 34:9
    33:5                                                  efficiently [1] - 7:6
                                10:12, 12:9                                         10:17, 11:2, 11:19         fee [3] - 30:20, 32:25,
     dates [1] - 14:17                                    effort [3] - 5:18,         etiology [1] - 11:16
                                 different [1] - 10:10                                                        33:25
     Daubert [3] - 7:15,                                 37:15, 37:25                evaluated [1] - 14:10
                                 direct [1] - 34:4                                                             fees [3] - 30:22, 34:3,
    32:11, 32:12
                                 directly [1] - 20:1      efforts [3] - 37:10,       evaluation [1] - 13:9    34:11
     Dave [1] - 37:13                                    37:18, 37:20                evidence [1] - 8:18
                                 discharge [1] - 18:10                                                         Fen [1] - 17:1
     DAVID [1] - 1:15                                     eight [2] - 30:21,         exactly [1] - 18:21
                                 discontinuation [1] -                                                         Fen-Phen [1] - 17:1
     days [12] - 10:15,                                  32:24                       example [1] - 13:1
                                11:14                                                                          Field [1] - 6:6
    10:21, 11:1, 11:13,                                   either [3] - 11:4,         examples [1] - 17:3
                                 discretion [1] - 28:3                                                         fifteenth [3] - 33:5,
    11:18, 11:21, 15:5,                                  11:6, 21:7
                                 discuss [1] - 34:10                                 excel [2] - 21:8,        33:8, 35:14
    15:16, 15:19, 15:20,                                  eleventh [2] - 33:8,
                                 discussion [2] -                                   21:10                      fifth [1] - 27:25
    26:18                                                35:13
                                7:19, 26:10                                          excellence [1] -          file [7] - 9:8, 9:9,
     De [1] - 10:23                                       Eligibility [1] - 14:12
                                 discussions [2] -                                  36:21                     9:15, 14:23, 28:22,
     De-Challenge [1] -                                   eligibility [2] - 12:1,
                                8:1, 8:3                                             exchange [1] - 18:4      29:10, 29:13
    10:23                                                14:2
                                 distributed [1] -                                   exchanged [1] - 18:7      filed [12] - 4:2, 9:13,
     deadline [2] - 15:1,                                 eligible [13] - 9:5,
                                31:13                                                exclude [1] - 9:17       9:17, 12:23, 13:3,
    15:7                                                 9:6, 9:7, 9:10, 10:5,
                                 DISTRICT [3] - 1:1,                                 exclusive [1] - 24:17    14:19, 18:2, 20:8,
     deadlines [3] - 28:1,                               10:11, 10:18, 11:25,
                                1:1, 1:9                                             excuse [1] - 13:10       21:23, 28:14, 29:2,
    29:6, 29:22                                          14:4, 14:23, 15:21
                                 Docket [1] - 33:6                                   exercise [2] - 8:4,      30:6
     deal [3] - 6:5, 31:24,                               end [3] - 14:12,
                                 document [2] - 17:8,                               34:2                       filing [2] - 15:6
    38:1                                                 26:19, 34:6
                                20:21                                                exhibited [2] - 36:20,    fill [3] - 21:8, 21:14,
     dealing [3] - 31:25,                                 ends [1] - 39:5
                                 documents [4] - 5:3,                               37:2                      28:11
    36:17, 38:14                                          engage [1] - 36:12
                                18:17, 32:2, 32:9                                    existing [4] - 11:9,      final [1] - 36:14
     decision [1] - 33:14                                 engaged [3] - 7:18,
                                 dollars [2] - 3:18,                                11:10, 11:12               finalized [2] - 26:8,
     DEFENDANTS [5] -                                    24:2, 26:10
                                31:7                                                 expect [3] - 28:5,       26:22
    1:18, 1:21, 1:23, 2:1,                                enjoy [1] - 39:3
                                 done [12] - 4:19,                                  38:11, 38:12               finalizing [1] - 31:12
    2:3                                                   enroll [2] - 10:1,
                                16:25, 17:4, 17:15,                                  expense [3] - 30:13,      finally [2] - 6:13,
     defendants [7] -                                    12:22
                                19:22, 32:20, 33:19,                                31:7, 33:20               11:20
    3:17, 3:24, 7:24,                                     enrolled [1] - 22:21
                                34:6, 36:5, 38:4,                                    expenses [7] -            fine [3] - 32:17,
    17:11, 19:7, 22:15,
                                38:22, 38:25              enrollment [1] -                                    32:20, 35:18
                                                                                    30:16, 30:24, 31:10,
    34:13                                                17:18
                                 Doug [3] - 7:9, 10:7,                              31:11, 34:2, 34:4,         finished [1] - 19:16
     defense [8] - 3:21,                                  ensure [1] - 32:18
                                15:13                                               34:6                       firm [10] - 16:3,
    5:5, 5:25, 6:8, 7:4,
                                 DOUGLAS [1] - 1:18       ensuring [1] - 32:21       experience [5] -         18:21, 18:22, 18:23,
    7:10, 31:22, 36:11                                    enter [6] - 21:13,
                                 Douglas [1] - 7:24                                 16:5, 17:7, 19:21,        19:24, 21:9, 22:10,
     delighted [3] - 16:13,                              28:3, 28:5, 28:22,
                                 down [2] - 17:14,                                  19:25, 32:6               24:12, 24:14
    19:17                                                30:20, 32:23
                                33:10                                                experts [1] - 16:19       firms [3] - 18:12,
     deliver [1] - 25:10                                  entered [4] - 3:23,
                                 downstairs [1] -                                    explain [1] - 20:18      22:8, 25:24
     delivered [1] - 37:12                               3:25, 4:13, 33:11
                                37:14                                                explained [1] - 5:12      first [10] - 3:10, 8:9,
     Denardo [1] - 24:12                                  Enteropathy [1] -
                                 dozens [1] - 31:16                                  extraordinary [2] -      9:11, 9:19, 13:19,
     deposition [1] - 32:4                               10:13
                                 DRINKER [1] - 1:19                                 17:19, 22:22              20:4, 27:12, 28:6,
     depositions [4] -                                    entire [2] - 6:14,
                                 Drug [1] - 17:1                                                              33:22, 38:9
    31:15, 31:17, 32:3,                                  30:15
    32:5
                                 drug [1] - 10:23
                                                          entitled [1] - 12:16
                                                                                               F               five [7] - 10:14,
                                 drugs [1] - 17:4                                                             10:25, 11:18, 12:6,
     DEPUTY [1] - 3:2                                     entitlement [1] -
                                 Dry [1] - 17:6                                                               14:12, 27:11, 28:4
     DePuy [1] - 17:2                                    25:10                       face [1] - 37:15
                                 due [2] - 8:22, 14:7                                                          Florida [1] - 7:16




                                    United States District Court
                                         Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 43 of 48 PageID: 21309
                                                                                                                                    43


     focus [2] - 6:9, 27:23     green [1] - 21:5          HONORABLE [2] -          22:7, 25:1                  Judge [23] - 4:25,
     following [1] - 10:22      greener [1] - 31:21      1:9, 1:10                  initial [1] - 17:17       5:6, 6:4, 23:5, 27:17,
     FOR [9] - 1:1, 1:15,       GREER [1] - 2:4           honored [1] - 19:17       injuries [2] - 10:11,     28:5, 28:17, 28:22,
    1:17, 1:18, 1:21, 1:23,     Greer [6] - 4:9, 16:3,    Honors [8] - 3:14,       17:5                       29:2, 31:18, 31:19,
    2:1, 2:3, 2:5              16:9, 24:20, 26:7         3:19, 4:23, 6:12, 7:3,     Injury [2] - 11:17,       31:20, 35:21, 36:2,
     foremost [1] - 33:22       guard [1] - 27:9         7:11, 27:1, 32:14         11:20                      36:3, 37:5, 37:8, 37:9,
     foresee [1] - 19:19        guess [2] - 39:4          hopefully [1] - 6:21      injury [15] - 9:10,       37:16, 37:19, 38:20
     forget [1] - 38:2          guidance [2] - 6:24,      hospital [2] - 12:11,    9:18, 10:2, 10:11,          Judges [1] - 15:11
     form [1] - 21:7           8:5                       12:15                     10:18, 10:19, 10:24,        justice [2] - 6:22,
     Form [1] - 12:23                                     hospitalization [6] -    11:3, 11:4, 11:7, 12:5,    39:2
     forms [2] - 20:22,                   H              10:15, 11:1, 11:5,        13:7, 15:15, 17:19,
    21:14                                                11:8, 12:11, 12:14        22:22                                 K
     Forms [2] - 12:23,                                   hours [3] - 7:18,         instance [1] - 21:23
                                hallmarks [3] - 8:8,     31:6, 32:16                instead [2] - 25:6,
    15:2
                               9:2, 11:23                                                                      Karen [1] - 37:13
     forth [3] - 19:14,                                   house [1] - 39:7         37:3
                                hand [1] - 23:4                                                                keep [1] - 14:17
    30:13, 33:20                                          hundred [1] - 31:15       insurers [2] - 25:19,
                                handled [5] - 8:3,                                                             keeping [1] - 30:14
     forward [2] - 14:18,                                 hundreds [4] - 7:18,     25:20
                               24:14, 25:23, 35:1,                                  intensive [1] - 32:7       kept [2] - 30:16,
    39:6                                                 32:16
                               35:3                                                                           30:17
     fought [1] - 6:10                                                              interested [1] - 21:20
                                handout [1] - 19:23                                                            KESSLER [1] - 1:14
     Four [1] - 11:9
                                hands [1] - 20:2
                                                                    I               interests [1] - 36:19
                                                                                                               key [2] - 9:6, 10:4
     four [1] - 12:6                                                                intern [1] - 37:13
                                happy [3] - 19:18,                                                             keying [1] - 26:7
     Fourth [1] - 27:22                                                             internet [1] - 18:7
                               28:18, 35:16               II [2] - 10:24, 11:4                                 kick [1] - 26:2
     frame [1] - 35:13                                                              interpret [1] - 32:2
                                hard [3] - 5:16, 6:10,    III [1] - 11:3                                       kind [1] - 38:9
     Friday [1] - 30:5                                                              interpreters [2] -
                               6:23                       immediately [1] -                                    kinds [1] - 33:16
     front [1] - 7:3                                                               32:1, 32:2
                                Hawaii [2] - 6:4,        29:10
                                                                                    intestinal [3] - 11:9,     KLUG [1] - 2:2
     fully [2] - 18:20,
                               31:17                      implement [2] -          11:11, 20:10                knowing [1] - 37:16
    32:13
                                hear [1] - 35:16         16:12, 17:9
                                                                                    inventory [1] - 25:10      knowledge [1] -
     function [2] - 18:1,
                                heard [4] - 16:16,        Implementation [2] -                                34:24
    21:9                                                                            invested [1] - 5:20
                               17:17, 18:16, 35:15       27:25, 29:16
                                                                                    involve [1] - 17:4         knows [1] - 30:25
     fund [11] - 3:17,
                                Hearing [1] - 7:15        implemented [4] -                                    KUGLER [1] - 1:9
    13:24, 17:19, 33:13,                                                            involved [5] - 7:3,
                                hearing [2] - 33:8,      14:17, 16:20, 17:21,
                                                                                   7:5, 16:13, 34:5, 39:1      Kugler [8] - 5:6,
    34:13, 34:16, 34:20,
                               35:14                     30:15                                                31:19, 31:20, 36:3,
    35:2, 35:4, 35:5, 35:6                                                          involves [1] - 10:19
                                help [4] - 12:1,          important [5] - 5:4,                                37:8, 37:9, 37:16
     Fund [3] - 26:22,                                                              involving [1] - 12:18
                               18:24, 19:3, 20:24        6:14, 7:7, 10:8, 27:12
    30:12, 35:12                                                                    issue [1] - 18:18
     funds [2] - 26:21,
                                helping [1] - 16:12       improve [2] - 10:24,
                                                                                    itself [1] - 21:19                    L
                                Herculean [1] -          11:14
    34:17                                                                           IV [1] - 11:15
                               37:20                      improved [1] - 10:22
     furnish [1] - 19:5                                                                                        labor [1] - 32:7
                                heros [2] - 38:5, 38:6    IN [1] - 1:3
     future [2] - 39:5, 39:7
                                highest [1] - 36:20       include [1] - 4:2                   J                LaGrand [1] - 24:18
                                                          included [1] - 32:5                                  LAR [1] - 24:17
                                highlights [1] - 36:24
               G                Hip [3] - 17:2, 24:17     including [1] - 17:19     JACOBY [1] - 1:15
                                                                                                               large [1] - 5:9
                                                          inclusion [1] - 11:24                                Larry [1] - 36:4
                                hold [1] - 34:14                                    Japanese [1] - 31:25
                                                          inclusive [1] - 10:8                                 last [4] - 24:6, 30:5,
     general [1] - 22:1         holdbacks [1] -                                     JERSEY [1] - 1:1
                                                          incredible [1] - 5:20                               32:15, 33:22
     Gerry [1] - 1:7           25:18                                                Jersey [3] - 1:7, 5:15,
                                                          indeed [1] - 8:25                                    launch [1] - 21:4
     girl [1] - 37:12           holders [3] - 26:4,                                9:8
                                                          independent [1] -                                    law [9] - 18:20,
     given [2] - 9:25,         26:9, 26:17                                          JESSICA [2] - 1:21,
                                                                                                              18:22, 18:23, 22:8,
    15:11                       holds [1] - 34:15        17:12                     2:1
                                                          indicated [1] - 23:23                               22:10, 22:24, 30:25,
     go-to [1] - 18:23          Honor [33] - 3:11,                                  job [5] - 5:13, 6:17,
                                                                                                              37:11, 37:25
     goal [1] - 32:18          3:12, 7:22, 13:12,         individual [3] - 12:8,   32:17, 32:20, 37:12
                                                                                                               lawyer [5] - 6:7,
     Government [1] -          13:16, 13:17, 15:1,       22:2, 22:17                JOEL [1] - 1:10
                                                                                                              18:10, 20:8, 20:15,
    26:3                       15:24, 16:2, 16:7,         individually [2] -        John [1] - 1:7
                                                                                                              22:18
     gradation [1] - 12:13     19:23, 20:6, 20:13,       8:21, 21:7                 Johnson [1] - 28:5
                                                                                                               lawyers [14] - 5:12,
     grass [1] - 31:21         21:25, 23:10, 23:23,       individuals [1] - 3:20    joined [2] - 16:10,
                                                                                                              5:19, 6:20, 8:24,
     gratified [1] - 6:16      24:1, 24:8, 24:10,         influenced [1] -         24:11
                                                                                                              17:25, 18:10, 30:22,
     great [7] - 23:25,        26:13, 26:24, 30:5,       17:13                      joy [2] - 7:2, 36:9
                                                                                                              32:7, 36:17, 37:1,
    28:19, 31:23, 36:10,       30:8, 30:25, 32:23,        information [11] -        judge [1] - 36:14
                                                                                                              38:6, 38:11, 38:15,
    36:12, 37:11, 37:23        33:21, 33:23, 34:8,       18:5, 18:15, 19:13,        JUDGE [6] - 1:9,
                                                                                                              38:21
     greater [2] - 10:21,      34:25, 35:24, 39:9,       20:23, 21:10, 21:12,      1:10, 23:7, 31:19,
                               39:10, 39:11                                                                    layout [1] - 34:9
    12:16                                                21:16, 21:18, 21:22,      35:22, 36:15




                                    United States District Court
                                         Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 44 of 48 PageID: 21310
                                                                                                                                  44


     lead [7] - 4:17, 4:21,    12:17                      25:13, 25:16              15:13, 15:19, 15:22,       nobody [1] - 22:18
    7:10, 7:11, 7:17, 19:6,     luck [1] - 39:6            medical [2] - 17:4,      16:2, 16:7, 16:9, 20:6,    noted [1] - 13:24
    36:9                        lucky [1] - 6:7           18:17                     20:13, 20:18, 20:21,       notice [1] - 27:19
     leaders [1] - 16:11        lump [1] - 34:18           Medicare [9] - 25:1,     21:4, 21:25, 22:4,         notices [1] - 18:6
     leadership [3] -                                     25:3, 25:5, 25:7,         22:6, 22:10, 22:13,        notified [1] - 14:8
    22:14, 22:17, 36:18                   M               25:10, 25:12, 25:13,      23:3, 23:8, 23:10,         NSA [1] - 23:21
     learned [1] - 35:10                                  26:18, 26:21              23:12, 23:15, 23:19,       number [7] - 5:10,
     least [4] - 11:21,                                    meet [3] - 4:3, 10:18,   23:21, 24:1, 24:8,        12:7, 14:10, 27:14,
                                macro [1] - 37:4          11:5                      24:10, 25:3, 25:22,
    32:11, 32:15, 34:24                                                                                       29:20, 32:7, 38:6
     leave [1] - 5:2            MAGISTRARE [1] -           meetings [1] - 36:7      26:13, 26:15, 26:24,       Number [6] - 28:8,
                               23:7                        memorandum [2] -         27:1, 29:2, 30:5,
     left [1] - 28:8                                                                                          28:9, 28:11, 28:12,
                                MAGISTRATE [4] -                                    30:10, 31:20, 33:21,
     leftover [2] - 33:12,                                4:14, 30:6                                          28:20, 30:12
                               1:10, 31:19, 35:22,         memorandums [1] -        34:16, 34:22, 34:24,
    33:14                                                                                                      NUMBER [1] - 1:4
                               36:15                                                35:4, 35:19, 35:24,
     Level [5] - 10:24,                                   32:10                                                numbers [1] - 28:7
                                managed [1] - 5:10         mentioned [3] - 14:7,    39:9, 39:11
    11:3, 11:4, 11:17,                                                                                         nuts [1] - 7:20
                                Management [4] -                                     MS [11] - 27:4, 28:10,
    11:20                                                 32:15, 33:24                                         NuvaRing [1] - 17:2
                               27:18, 28:8, 28:12,         met [4] - 12:25, 13:2,   28:15, 28:25, 29:7,
     level [4] - 10:12,
                               29:5                                                 29:11, 29:15, 29:19,
    10:18, 10:19, 12:5
                                map [1] - 6:3
                                                          13:4, 13:23
                                                                                    29:21, 30:2, 39:10
                                                                                                                        O
     levels [4] - 8:17,                                    MICHAEL [1] - 1:20
    10:2, 12:1, 12:17           maps [1] - 13:17           middle [1] - 17:14        MSA [2] - 24:20, 27:3
     LIABILITY [1] - 1:4        Marcino [4] - 24:1,        might [2] - 15:14,        multiple [3] - 24:3,      objections [3] - 33:2,
     lien [10] - 24:2,         24:6, 24:11, 34:25         27:9                      27:2, 36:6                33:9, 35:14
    24:13, 24:19, 25:1,         MARCINO [8] - 24:8,        million [2] - 3:18,       must [2] - 14:20,         objects [1] - 33:7
    25:5, 25:23, 26:4,         24:10, 25:3, 25:22,        31:7                      14:24                      obligation [1] - 13:24
    26:9, 26:12, 26:16         26:13, 26:15, 26:24         millions [1] - 32:9       mutual [1] - 17:12        obligations [1] - 25:5
     Lien [2] - 4:10, 24:2      Marina [1] - 27:17         Miss [7] - 4:11, 6:1,                               obviously [6] - 5:21,
     liens [7] - 14:14,         marvin [4] - 3:21,        7:5, 7:13, 7:14, 27:1,               N              12:11, 12:14, 31:8,
    25:8, 25:13, 25:17,        4:7, 4:16, 4:22            37:3                                                31:25, 33:16
    25:20, 25:23, 26:8          MARVIN [9] - 1:18,         missed [1] - 23:15                                  occasions [2] - 36:6,
                               7:22, 7:24, 10:4, 12:3,                               nail [1] - 31:5          38:7
     light [1] - 21:5                                      misspoke [2] -
                               13:17, 15:9, 15:19,                                   name [2] - 21:15,         occurs [1] - 13:25
     limitations [1] - 9:15                               15:14, 15:18
                               35:4                                                 24:7                       OF [1] - 1:1
     Limited [1] - 29:12                                   Mitchell [1] - 1:6
                                Marvin [11] - 4:4, 6:5,                              Nami [1] - 2:12
     line [10] - 18:3, 18:5,                               model [3] - 25:6,                                   offenses [1] - 32:12
                               7:6, 7:9, 7:18, 7:20,                                 need [15] - 3:4, 9:15,    Office [1] - 37:14
    18:11, 18:15, 18:18,                                  25:8, 25:12
                               7:24, 11:23, 15:22,                                  9:23, 12:22, 13:6,
    19:7, 19:13, 21:8,                                     modest [1] - 37:6                                   office [1] - 9:16
                               26:16, 35:2                                          15:16, 18:24, 19:8,
    21:17, 25:2                                            moment [1] - 33:2                                   officially [1] - 4:1
                                mass [1] - 24:3                                     19:11, 20:25, 21:17,
     list [2] - 25:10, 25:11                               money [8] - 5:20,                                   offsets [1] - 25:17
                                massive [3] - 31:8,                                 23:13, 29:23, 33:3,
     LITIGATION [1] - 1:4                                 33:11, 33:12, 33:14,                                 often [1] - 14:10
                               32:1                                                 38:10
     litigation [10] - 3:15,                              34:3, 34:14, 34:15,                                  Oil [1] - 17:5
                                Master [10] - 4:12,                                  needed [3] - 6:10,
    5:1, 5:8, 6:9, 6:13,                                  35:3                                                 OLMESARTAN [1] -
                               8:11, 12:3, 17:11,                                   6:19, 34:3
    6:15, 17:6, 24:3,                                      months [1] - 8:2                                   1:3
                               19:12, 19:13, 22:14,                                  needs [1] - 28:22
    24:15, 30:11                                           morning [9] - 3:4,                                  Olmesartan [13] -
                               27:16, 28:17, 34:12                                   NEGOTIATING [1] -
     Litigation [3] - 24:17,                              3:11, 3:24, 4:1, 7:22,                              9:11, 9:12, 9:19, 9:20,
                                master [2] - 3:23,                                  1:17
    24:18, 30:12                                          7:23, 16:7, 16:8,                                   10:21, 11:11, 11:13,
                               8:25                                                  negotiating [3] -
     live [1] - 23:24                                     24:10                                               11:14, 11:17, 11:21,
                                match [1] - 25:11                                   7:12, 7:17, 10:7
     LLP [1] - 1:19                                        most [5] - 6:13, 7:7,                              13:7, 15:20, 29:22
                                matrix [4] - 8:17,                                   negotiation [1] -
     log [1] - 22:23                                      10:8, 25:16, 25:22                                   once [10] - 12:24,
                               8:18, 12:5, 14:6                                     7:19
     Lone [3] - 29:17,                                     motion [7] - 4:14,                                 13:2, 13:23, 14:8,
                                matter [2] - 8:25,                                   negotiator [2] - 7:10,
    29:19, 29:21                                          30:6, 30:19, 33:4,                                  14:17, 15:10, 21:13,
                               39:12                                                7:11
     long-term [1] - 12:20                                33:5, 34:8, 35:20                                   23:23, 34:7, 39:4
                                matters [4] - 16:15,                                 never [3] - 6:3, 6:4,
     look [6] - 18:21,                                     motions [1] - 32:8                                  one [30] - 5:10, 5:22,
                               24:14, 24:18, 35:7                                   27:7
    19:7, 19:10, 22:24,                                    move [3] - 15:25,                                  10:7, 10:12, 10:18,
                                MDL [4] - 3:15, 7:4,                                 new [2] - 30:1, 32:6
    27:8, 39:6                                            16:23, 19:15                                        11:21, 11:23, 12:6,
                               7:16, 30:25                                           NEW [1] - 1:1
     looked [1] - 28:7                                     moving [3] - 22:2,                                 16:11, 16:16, 17:13,
                                MDL's [1] - 5:14                                     New [3] - 1:7, 5:14,     19:22, 21:9, 22:10,
     looking [4] - 15:14,                                 27:5, 36:3
                                                                                    9:8
                                mean [6] - 11:7,                                                              25:7, 26:6, 28:6,
    34:2, 37:25                                            MR [60] - 3:11, 4:25,
                               25:6, 33:15, 35:12,                                   next [7] - 7:9, 16:2,    28:16, 29:4, 29:6,
     loose [1] - 39:5                                     7:1, 7:22, 7:24, 10:3,
                                                                                    20:12, 20:14, 24:1,
                               38:12, 38:18                                                                   30:1, 30:3, 34:18,
     Loretta [1] - 36:5                                   10:4, 10:6, 12:3,
                                                                                    27:1, 29:4
                                meaning [1] - 10:19                                                           35:4, 36:24, 38:15,
     loss [5] - 10:14,                                    13:10, 13:12, 13:16,
                                                                                     night [1] - 12:12
                                Medicaid [3] - 25:1,      13:17, 14:16, 15:9,                                 38:24, 39:8
    10:25, 11:5, 11:7,




                                    United States District Court
                                         Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 45 of 48 PageID: 21311
                                                                                                                                    45


     One [1] - 1:7             packages [6] -            perspective [5] -            post [1] - 19:5          15:12, 16:14, 16:17,
     ones [3] - 14:18,        13:22, 14:1, 14:2,        6:14, 6:20, 32:20,            posting [1] - 22:7       17:16, 17:20, 18:8,
    17:4, 26:6                14:11, 15:8, 22:17        36:17, 36:21                  practically [1] - 5:11   20:14
     Online [1] - 12:24        paid [4] - 14:14,         pharmaceutical [1] -         practice [2] - 7:3,       programs [11] -
     open [6] - 3:1, 8:12,    26:17, 26:18              31:4                        36:2                       16:14, 16:25, 17:7,
    8:14, 9:4, 9:12, 18:20     paragraph [1] -           phase [2] - 17:18,           Pradaxa [1] - 17:2       17:21, 19:12, 19:21,
     operating [1] - 16:12    33:22                     17:19                         pre [5] - 11:9, 11:10,   24:3, 25:24, 26:3,
     opportunity [5] -         parallel [1] - 28:4       Phen [1] - 17:1            11:12, 21:14               26:5
    6:11, 6:18, 15:11,         parameters [2] -          picking [1] - 37:25          pre-existing [4] -        progress [1] - 19:6
    33:3, 38:7                10:16, 34:10               pieces [2] - 17:20,        11:9, 11:10, 11:12          proposal [1] - 34:7
     oppositions [1] -         PARKER [1] - 1:22        19:20                         pre-fill [1] - 21:14      propose [1] - 33:4
    32:11                      part [2] - 17:19,         Pine [3] - 29:17,            preliminary [1] -         Proposed [1] - 33:23
     opt [2] - 17:18, 27:20   21:13                     29:19, 29:21                14:3                        protections [2] -
     Opt [6] - 12:23,          participate [3] -         place [4] - 14:20,           prepared [1] - 32:9      8:22, 14:7
    13:20, 13:22, 15:2,       17:16, 20:16, 26:5        25:15, 26:19, 31:17           present [4] - 4:7,        proud [2] - 5:15, 6:11
    15:5                       participated [1] -        placed [1] - 8:13          7:20, 34:8, 35:25           provide [1] - 18:19
     opt-in [1] - 17:18       30:23                      plaintiff [1] - 13:5         presented [1] - 27:11     provided [1] - 15:1
     Opt-In [4] - 13:20,       participation [2] -       plaintiff's [1] - 3:9        presume [1] - 5:4         Provideo [6] - 4:10,
    13:22, 15:2, 15:5         12:24, 13:23               PLAINTIFFS [1] -             pretty [1] - 5:2         4:11, 24:2, 24:11,
     opting [1] - 27:19        particular [1] - 19:11   1:15                          preview [1] - 4:6        24:13, 34:25
     Opting [1] - 15:3         parties [10] - 3:7,       plaintiffs [16] - 3:12,      printout [1] - 30:1       provides [1] - 3:17
     order [5] - 10:18,       3:15, 4:13, 16:4,         3:25, 4:19, 5:4, 6:15,        private [4] - 25:19,      proximate [1] - 32:5
    14:25, 15:20, 32:24,      17:10, 18:18, 19:6,       9:7, 13:8, 13:20,           25:20, 25:23                public [4] - 17:24,
    33:11                     24:24, 27:13, 27:23       13:25, 17:10, 19:6,           privately [2] - 37:22,   38:1, 38:2, 38:3
     Order [21] - 15:4,        parties' [1] - 35:24     30:6, 30:15, 31:14,         38:7                        publically [1] - 38:8
    17:23, 23:18, 27:12,       partners [1] - 16:11     32:18, 33:13                  Pro [1] - 18:11           publicly [2] - 37:21,
    27:16, 27:18, 27:22,       past [2] - 8:2, 24:14     Plaintiffs [1] - 27:7        pro [1] - 31:14          37:22
    27:25, 28:8, 28:12,        pathology [2] -           Plaintiffs' [3] - 3:22,      problem [2] - 6:2,        purpose [2] - 5:8,
    29:5, 29:12, 29:16,       10:12, 12:10              4:19, 32:12                 20:10                      30:13
    29:17, 29:19, 29:21,       pause [1] - 12:2          PLAINTIFFS' [1] -            procedures [3] -          pursue [1] - 27:21
    30:11, 30:20, 33:6,        payment [1] - 17:18      1:17                        14:6, 30:14                 put [5] - 3:8, 4:20,
    33:23                      payments [2] -            plaintiffs' [11] - 4:17,     proceed [1] - 16:17      8:11, 15:11, 37:20
     Orders [7] - 4:12,       14:15, 34:13              5:24, 7:11, 7:12, 7:17,       process [22] - 8:6,       putting [1] - 8:7
    20:5, 23:23, 27:2,         pays [1] - 26:12         10:7, 30:17, 31:22,         8:19, 8:22, 14:7,
    27:11, 28:4                pending [1] - 9:9        32:20, 34:1, 36:8           14:13, 16:15, 16:23,                  Q
     Oregon [1] - 20:7         Pensacola [1] - 7:16      plan [1] - 25:25           17:9, 18:17, 18:22,
     Orran [2] - 16:2, 16:9    people [26] - 5:2,        planning [1] - 31:24       19:3, 19:16, 21:12,
     ORRAN [1] - 2:4                                     Plaza [1] - 1:7                                        QSF [1] - 24:13
                              6:14, 6:15, 10:1,                                     21:24, 22:3, 26:21,
     ourselves [2] -                                     pleased [3] - 3:14,                                    qualified [4] - 34:16,
                              11:10, 14:18, 15:2,                                   31:9, 31:12, 32:3,
    16:21, 18:18                                        4:18, 4:21                                             35:2, 35:5
                              15:17, 16:18, 16:21,                                  36:10, 36:12, 39:1
     out-of-pocket [1] -                                 pleasure [6] - 6:5,                                    Qualified [1] - 26:22
                              19:1, 19:3, 21:6, 22:8,                                 processes [5] -
    33:17                     22:11, 22:18, 23:24,      36:2, 36:17, 36:21,                                     qualify [2] - 11:3,
                                                                                    18:13, 24:23, 25:15,
     outcome [1] - 38:23      27:19, 32:21, 33:3,       36:24, 38:16                                           11:15
                                                                                    26:2, 28:1
     outcomes [2] -                                      PNC [1] - 22:15                                        questions [3] -
                              37:11, 37:14, 37:24,                                    proclaim [1] - 6:16
                                                         pocket [1] - 33:17                                    19:18, 23:6, 33:1
    17:15, 18:6               38:1, 38:13, 39:1                                       Prodaxa [1] - 24:17
     outsource [1] -           percent [11] - 10:14,     podium [1] - 8:1                                       quick [1] - 5:2
                                                                                      produce [1] - 8:18
                                                         point [6] - 14:3, 14:9,                                quickly [2] - 16:24,
    16:21                     10:25, 13:1, 13:2,                                      product [2] - 17:25,
     Overall [2] - 13:1,      30:21, 30:23, 31:2,       14:14, 15:3, 15:18,                                    19:15
                                                                                    20:15
                              32:24, 32:25                                                                      quite [2] - 5:1, 32:7
    13:2                                                34:4                          PRODUCTS [1] - 1:4
     overall [1] - 22:15       perhaps [1] - 4:4         points [4] - 12:7,           professional [2] -
     overview [4] - 4:2,       period [5] - 9:21,       12:8, 14:5, 14:13           6:1, 6:6                              R
    4:16, 9:3, 15:9           9:25, 12:12, 12:21,        politely [1] - 8:3           professionalism [4]
     own [5] - 16:21, 19:9,   13:20                      portal [3] - 18:4,         - 8:4, 27:5, 36:20,         RAFFERTY [8] -
    22:10, 22:18, 32:12        persist [2] - 11:18,     19:9, 25:4                  37:2                       1:16, 10:3, 10:6,
                              15:16                      position [1] - 34:7          Program [2] - 17:3,      13:10, 13:12, 13:16,
               P               persists [1] - 10:21      positions [1] - 38:18      17:6                       14:16, 15:13
                               person [4] - 5:21,        positive [2] - 10:19,        program [19] - 3:17,      Rafferty [12] - 3:22,
                              5:22, 18:23               10:23                       3:19, 8:8, 8:22, 9:1,      4:4, 4:7, 4:16, 4:23,
     package [2] - 13:6,       person's [1] - 26:11      possible [1] - 5:21        9:4, 10:9, 10:16,          7:10, 7:14, 7:16, 7:20,
    14:3                       personal [1] - 17:5       possibly [1] - 11:25       13:18, 14:24, 15:10,




                                   United States District Court
                                        Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 46 of 48 PageID: 21312
                                                                                                                                  46

    10:6, 15:23, 26:16          Replacement [1] -        reviewed [6] - 8:21,     serve [2] - 38:2, 38:3    28:22, 29:9, 29:13,
     rata [1] - 31:14          17:3                     28:13, 28:20, 29:8,       set [11] - 8:17, 14:25,   29:25
     rate [1] - 13:23           report [3] - 10:12,     29:25, 32:9              17:8, 22:3, 23:3,           signed [4] - 3:24,
     RAYNA [1] - 1:14          12:10, 33:18              reviewers [1] - 16:19   24:19, 25:8, 30:7,         3:25, 9:20, 14:22
     re [1] - 14:10             reporting [1] - 18:19    rewarding [1] - 8:4     34:20, 35:13, 36:7          signing [1] - 28:13
     RE [1] - 1:3               reports [9] - 19:4,      Richmond [1] -           sets [1] - 12:4            signs [1] - 23:23
     re-evaluated [1] -        19:5, 19:8, 19:10,       16:10                     setting [4] - 14:5,        similar [3] - 19:21,
    14:10                      21:21, 22:7, 22:19,       ring [1] - 6:12         23:2, 30:13, 32:4          26:1
     reached [2] - 3:16,       22:20, 22:23              rise [1] - 3:2           settlement [48] -          similarly [1] - 8:16
    24:22                       represent [3] - 6:19,    road [2] - 6:3, 33:10   3:16, 3:17, 3:19, 3:23,     single [2] - 5:21,
     read [2] - 8:12, 8:14     17:25, 25:25              ROBERT [1] - 1:9        3:24, 3:25, 4:1, 4:9,      5:22
     reading [1] - 15:18        representative [2] -     role [1] - 22:17        8:7, 8:14, 9:1, 9:10,       sitting [2] - 9:16,
     ready [3] - 17:22,        4:8, 4:10                 rough [1] - 37:1        10:1, 12:22, 12:25,        37:13
    21:4, 29:1                  representatives [2] -    Rule [1] - 28:21        13:4, 13:5, 13:18,          situated [1] - 8:16
     real [1] - 38:5           17:10, 25:14              ruling [1] - 6:5        13:19, 13:21, 13:24,        six [9] - 10:10, 11:22,
     realize [1] - 9:24         represented [3] -        run [3] - 7:6, 9:14,    15:3, 15:5, 15:6, 15:7,    12:6, 12:17, 14:12,
     really [17] - 5:2, 5:5,   18:9, 36:19              25:20                    15:21, 16:4, 16:12,        24:14, 30:21, 31:2,
    5:13, 5:14, 5:15, 6:16,     representing [1] -       running [3] - 6:12,     16:14, 17:7, 17:8,         32:25
    7:2, 11:21, 11:22,         32:21                    21:6, 27:24              17:24, 19:20, 20:2,         sketch [1] - 31:5
    19:16, 25:13, 26:18,        request [2] - 30:19,                             20:9, 20:21, 20:22,         SLATER [4] - 1:13,
    36:10, 37:17, 37:20        31:2                               S              27:15, 27:23, 31:13,
                                                                                 32:22, 34:16, 35:2,
                                                                                                            4:25, 29:2, 39:11
     reason [1] - 38:3          required [2] - 2:11,                                                         Slater [9] - 4:21,
     reasonable [1] - 31:3     21:10                                             35:5, 38:23, 38:24         4:24, 7:1, 7:2, 7:7,
     REATH [1] - 1:19           requirement [1] -        Sara [1] - 37:12         SETTLEMENT [1] -          7:13, 28:25, 32:17,
     receipts [2] - 33:16,     15:19                     scenario [1] - 25:18    2:5                        36:9
    33:17                       requirements [5] -       scenarios [1] - 26:2     Settlement [10] -          SLE [1] - 12:9
     receive [1] - 13:5        11:1, 11:6, 11:16,        scenes [2] - 37:11,     4:12, 8:12, 12:3, 17:1,     slow [1] - 25:16
     recognizing [1] -         14:25, 28:21             37:14                    22:16, 26:22, 28:1,         smaller [1] - 26:4
    11:10                       Resolution [2] -         schedule [1] - 19:5     29:5, 29:22, 34:12          smoothly [1] - 18:14
     reconcile [1] - 33:18     4:10, 24:2                Schneider [8] - 5:6,     settlements [1] -          sometime [1] - 20:5
     reconciliation [1] -       resolution [11] -       23:5, 31:18, 35:21,      24:4                        soon [3] - 20:5, 21:5,
    26:21                      4:21, 7:19, 10:9,        36:3, 36:14, 37:20,       seven [2] - 10:21,        22:6
     reconsideration [1] -     10:16, 14:24, 24:3,      38:20                    11:13                       sorry [2] - 13:16,
    8:23                       24:13, 24:19, 25:24,      SCHNEIDER [5] -          several [2] - 8:2,        36:23
                               32:16, 35:1              1:10, 23:7, 31:19,       24:21                       sort [3] - 9:3, 13:17,
     record [3] - 3:8, 5:23,
    23:21                       resolve [1] - 25:13     35:22, 36:15              share [2] - 18:14,        26:4
                                resolved [5] - 14:14,    Schneider's [1] - 6:5   39:2                        sounds [1] - 28:10
     records [1] - 18:17
                               25:6, 25:9, 28:19,        Scott [1] - 24:11        shares [1] - 19:13         speaking [1] - 34:25
     redeem [1] - 35:1
                               33:15                     Se [1] - 18:11           Sharko [5] - 4:11,         speaks [1] - 5:14
     reductions [2] -
    25:17, 26:1                 respect [2] - 8:20,      seat [1] - 3:3          6:1, 7:5, 27:1, 37:3        Special [6] - 17:11,
     refunds [1] - 26:20       12:14                     second [5] - 8:10,       SHARKO [12] - 1:20,       19:12, 19:13, 22:14,
     regard [1] - 34:11         respond [2] - 33:4,     8:15, 10:4, 27:16,       27:4, 28:10, 28:15,        27:16, 28:17
                               33:7                     28:16                    28:25, 29:7, 29:11,         special [2] - 8:25,
     regarding [3] -
                                Response [1] - 35:17     Section [1] - 2:12      29:15, 29:19, 29:21,       19:8
    28:12, 29:5, 35:12
                                rest [3] - 36:18,        secure [5] - 16:22,     30:2, 39:10                 specialize [1] - 16:18
     regards [2] - 7:14,
                               37:21, 39:3              18:4, 18:7, 18:15,        Shield [1] - 16:25         specific [2] - 4:3,
    11:2
                                result [1] - 9:19       22:13                     ship [3] - 37:8, 37:9,
     register [2] - 18:1,                                                                                   25:25
                                resulting [1] - 9:11     see [15] - 5:18, 6:3,   37:16                       specifically [1] - 4:5
    18:2
                                results [2] - 18:18,    10:10, 18:21, 22:10,      short [1] - 19:23          spell [1] - 24:6
     registered [2] -
                               38:4                     22:15, 22:16, 22:18,      shortly [1] - 28:24        spend [1] - 37:24
    14:25, 22:8
                                retain [1] - 9:21       22:23, 25:4, 29:23,       show [1] - 22:20           spent [2] - 32:15,
     registering [1] - 21:6
                                retained [2] - 9:14,    31:2, 36:23, 39:4,        side [16] - 3:21, 3:22,
     registration [2] -                                                                                     37:8
                               9:23                     39:6                     4:17, 5:24, 7:10, 7:11,
    17:17, 22:21                                                                                             Spill [1] - 17:5
                                retainer [3] - 9:24,     sees [1] - 20:8         8:1, 17:13, 30:17,
     reimburse [2] -                                                                                         spoken [1] - 5:1
                               14:20, 14:22              send [1] - 14:5         31:21, 31:22, 32:12,
    33:11, 33:13                                                                                             spots [1] - 37:1
                                Retired [1] - 27:16      sends [1] - 7:14        34:1, 35:24, 36:8,
     reiterate [1] - 36:1                                                                                    Sprue [1] - 10:12
                                return [1] - 33:5        separate [1] - 34:20    36:11
     relief [1] - 6:21                                                                                       Sprue-like [1] -
                                review [6] - 13:21,      September [1] - 15:1     sides [3] - 8:24, 32:3,
     remain [1] - 26:21                                                                                     10:12
                               14:2, 17:18, 18:17,       series [1] - 25:23      36:19
     remarks [1] - 36:14                                                                                     SR [1] - 2:4
                               19:3, 33:19               serious [1] - 12:15      sign [6] - 9:24, 20:5,
     renal [2] - 12:18                                                                                       staff [2] - 36:4, 37:23




                                   United States District Court
                                        Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 47 of 48 PageID: 21313
                                                                                                                                    47


     stage [1] - 5:7           31:6, 32:10, 32:13,       29:4, 29:8, 29:12,         4:20                        varication [1] - 25:9
     stages [3] - 16:17,       33:23, 34:17              29:16, 29:20, 29:23,        triggered [1] - 13:25      various [1] - 8:17
    17:16, 17:20                submitting [3] -         30:3, 30:9, 33:1,           trip [1] - 19:1            VI [2] - 11:20, 15:15
     stand [1] - 18:20         14:1, 15:2, 15:8          34:12, 34:18, 34:23,        TROY [1] - 1:16            view [1] - 20:23
     standard [1] - 22:20       subrogation [1] -        35:8, 35:18, 35:21,         Troy [3] - 7:10, 9:3,      Villous [1] - 10:13
     standards [1] - 36:20     25:24                     35:23, 36:14, 37:19        10:6                        Vioxx [1] - 17:2
     stands [1] - 22:21         subset [1] - 26:4         therefore [1] - 12:16      true [4] - 2:11, 12:16,    Virginia [1] - 16:10
     start [8] - 3:9, 10:20,    successfully [1] -        third [4] - 8:10, 8:20,   12:20, 15:19
    21:6, 22:6, 22:7, 26:3,    17:21                     27:18, 37:12                truly [2] - 36:1, 36:24             W
    31:24, 34:5                 suggesting [1] - 33:2     thousands [2] -            trust [1] - 38:4
     starting [2] - 21:18,      sum [2] - 13:3, 34:18    24:15, 39:1                 try [3] - 11:22, 18:7,
    22:21                       summer [1] - 39:3         three [4] - 8:8, 10:15,   38:2                         waiting [1] - 23:17
     State [2] - 4:2, 9:8       support [2] - 13:7,      11:1, 12:6                  turn [1] - 37:5             walk [1] - 27:2
     state [2] - 5:9, 13:13    32:10                      threshold [2] - 11:7,      twice [1] - 39:4            Wall [1] - 17:6
     STATES [3] - 1:1,          SUSAN [1] - 1:20         27:15                       two [8] - 3:15, 9:5,        wants [2] - 19:4,
    1:9, 1:10                   Sutton [2] - 7:13,        Threshold [2] - 13:1,     11:6, 12:6, 30:23,         22:19
     States [5] - 1:6, 5:19,   7:14                      13:2                       31:2, 32:25, 33:5            watch [1] - 38:16
    25:14, 25:17, 25:20         swift [1] - 27:6          thresholds [4] -           type [2] - 6:8, 17:7        web [1] - 8:13
     static [3] - 27:8,         symptoms [7] -           12:24, 12:25, 13:4,                                     website [10] - 17:24,
                                                                                                               18:1, 20:4, 20:11,
    27:9, 37:3                 10:20, 10:24, 11:12,      13:23                                 U               20:13, 20:17, 20:18,
     stating [1] - 32:17       11:17, 11:20, 15:15        throughout [8] - 8:6,
     statistics [1] - 22:15     system [5] - 6:22,       10:11, 21:12, 21:19,                                  21:4, 23:16
                                                         24:4, 30:15, 31:11,         U.S.C [1] - 2:12            weeks [1] - 33:5
     status [3] - 3:6,         18:15, 19:2, 19:14,
                               21:11                     36:19                       ultimately [1] - 6:19       weight [7] - 10:14,
    21:21, 21:24
                                systems [2] - 16:18,      thumb [1] - 31:5           under [4] - 25:8,         10:25, 11:5, 11:7,
     statute [1] - 9:14
                                                          tie [1] - 39:5            28:23, 32:22, 34:12        12:17
     Statute [1] - 28:23       16:20
                                                          timed [1] - 34:13          undertaking [2] -           whole [5] - 31:9,
     stay [1] - 18:9
     Stay [3] - 27:22,                    T               Title [1] - 2:11          31:8, 32:1
                                                                                     unfiled [2] - 13:3,
                                                                                                               37:7, 37:9, 37:13,
                                                                                                               38:3
    29:12                                                 today [22] - 3:7, 3:18,
                                                         4:6, 5:7, 6:24, 7:15,      18:2                         WILLIAM [1] - 2:5
     staying [1] - 27:22
                                takers [1] - 35:18       13:20, 14:17, 16:10,        Unfortunately [1] -         withheld [1] - 33:11
     steered [1] - 37:9
                                Tara [1] - 7:13          17:22, 19:17, 20:5,        7:14                         withholding [1] -
     Steering [3] - 4:19,
                                team [2] - 5:18, 6:8     21:6, 21:7, 21:18,          uniform [1] - 17:15       35:7
    35:9, 36:18
                                TEAM [1] - 2:5           23:23, 27:9, 28:4,          UNITED [3] - 1:1,           witnesses [1] - 31:25
     STEINBERG [1] -
                                teamed [1] - 37:15       28:5, 29:14, 35:25         1:9, 1:10                    wonderful [1] - 37:24
    1:14
                                technology [2] -          together [4] - 8:7,        United [2] - 1:6, 5:19      word [2] - 6:3, 27:8
     step [2] - 18:3
                               18:8, 19:15               8:11, 15:12, 37:8           unless [1] - 18:10          works [1] - 21:1
     steps [4] - 13:18,
                                ten [1] - 36:25           took [2] - 31:17, 32:6     unrepresented [1] -         worse [2] - 25:18,
    14:10, 16:23, 18:16
                                term [3] - 8:13, 10:4,    top [1] - 21:14           20:15                      26:1
     steriodal [1] - 12:20
                               12:20                      tort [1] - 24:3            up [20] - 8:17, 9:14,       worsen [1] - 11:12
     still [1] - 33:1
                                terms [7] - 8:11,         totalled [1] - 14:13      15:16, 17:8, 18:21,          worthy [1] - 27:7
     stopped [1] - 10:23
                               8:15, 9:6, 15:15,          totally [1] - 31:16       19:1, 19:10, 20:5,           writing [1] - 33:7
     straight [2] - 17:14,
                               16:16, 24:19, 26:1         touch [1] - 23:1          21:5, 22:3, 23:2, 23:3,      www.
    18:25
                                terrific [2] - 5:13,      touched [1] - 14:11       23:4, 25:8, 26:7, 32:4,    Olmesartanproductlitigationsettlement
     strange [1] - 38:9
                               38:14                      tough [1] - 6:1           34:20, 36:7, 39:5          .com [1] - 23:22
     strived [1] - 8:7
                                THE [65] - 1:1, 1:9,      towards [2] - 30:10,       upward [1] - 12:10
     strong [1] - 36:11
                               1:10, 1:15, 1:18, 1:21,   30:24                       usage [1] - 12:20                    Y
     Strunk [1] - 16:10
                               1:23, 2:1, 2:3, 2:5,       track [2] - 30:16,         user [2] - 20:15,
     STRUNK [1] - 2:5
                               3:2, 3:3, 4:24, 7:23,     30:17                      22:13
     Stryker [1] - 24:17                                                                                        Y-a-z [1] - 24:16
                               13:11, 13:14, 16:1,        training [1] - 16:18       users [1] - 17:25
     sub [3] - 12:25, 13:4,                                                                                     Yaz [1] - 24:16
                               16:8, 20:4, 20:7,          transcript [1] - 15:18     uses [1] - 19:14
    35:6                                                                                                        years [3] - 3:15,
                               20:17, 20:20, 21:3,
                                                          transparency [3] -         utmost [1] - 37:2
     sub-accounts [1] -        21:20, 22:1, 22:5,                                                              24:14, 36:25
    35:6                                                 5:11, 8:9, 8:11
                                                                                                                yesterday [1] - 35:10
     sub-thresholds [2] -
                               22:9, 22:12, 23:1,
                                                          transparent [1] -                    V
                               23:5, 23:9, 23:11,
                                                         8:14
    12:25, 13:4                23:14, 23:17, 23:20,
                                                          transpired [1] - 8:2                                            Z
     submit [3] - 12:23,       23:25, 24:6, 24:9,                                    vacations [1] - 9:25
                                                          traveling [1] - 32:4
    13:6, 19:2                 24:25, 25:19, 26:12,                                  valuation [1] - 12:4
     submitted [9] - 4:15,                                treated [2] - 8:16,                                   zealous [2] - 36:11,
                               26:14, 26:23, 26:25,                                  value [1] - 14:14
                                                         8:19                                                  38:17
    18:16, 28:4, 30:18,        28:6, 28:11, 28:16,                                   values [1] - 26:9
                                                          tremendous [1] -                                      zealously [1] - 36:18




                                    United States District Court
                                         Camden, New Jersey
Case 1:15-md-02606-RBK-JS Document 1143 Filed 08/07/17 Page 48 of 48 PageID: 21314
                                                                            48


    ZOGBY [1] - 1:20




                       United States District Court
                            Camden, New Jersey
